               UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF WISCONSIN

                                               CASE NO. 2:23-MDL-3064-
                                                         WCG
IN RE: HARLEY-DAVIDSON AFTERMARKET
                                                  Electronically Filed
PARTS MARKETING, SALES PRACTICES AND
ANTITRUST LITIGATION




     MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                    FOR FAILURE TO STATE A CLAIM




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        Plaintiffs Jacqueline and Robert Assise, Edward Heymer, Vladimir Lipkin, Anzhela

Demkiv, Scott Koller, Rita Weaver, James Billings, Curtis Perry, Vincent Romeo, Debra Plinck,

Thomas Navarette, Gary Chelenyak, Richard Hawkins, Aaron Harris submit this Memorandum of

Law in opposition to Harley-Davidson’s (hereinafter “Harley”) Motion to Dismiss for Failure to

State a Claim.

       Harley is the largest American maker of motorcycles. It sells each of its new motorcycles

with a warranty; one cannot be bought without the other. Harley is also a maker of parts for its

motorcycles, not only for repair, but for performance upgrades and personalization. This parts

business is lucrative, accounting for approximately 15% of Harley’s revenue. Consolidated

Amended Complaint (“CAC” or “Complaint”) ¶ 4. To maximize its market share in the lucrative

parts market, Harley threatened to void its new bike warranty if its customers installed any of its

competitors’ parts. The purpose and effect of this threat was to get new bike purchasers to buy

only Harley-Davidson parts. These warranty restrictions were not explained, let alone tailored, in

any meaningful way to performance or reliability concerns, leaving the riders exposed to at-will

revocation while riding motorcycles that cost five figures.

       The CAC alleges that this violates both warranty and antitrust laws. Specifically, Plaintiffs

assert a two-part claim for violation of the federal Magnusson-Moss Warranty Act, one under a

provision of the act that prohibits tying the warranty to the use of a specific brand’s parts, and the

other under a provision that bars incomplete disclosure, because instead of telling the riders under

what circumstances it would declare the warranty void, it told them to see a dealer, maximizing

the uncertainty of its cancelation threat. Plaintiffs also bring claims under the state warranty

statutes of all fifty states on the same two theories.


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       Plaintiffs also assert a claim that Harley’s conduct constituted an unlawful tie under state

antitrust laws. Because the riders purchased their bikes through dealers instead of directly from

Harley, they assert their indirect antitrust claims under the state law of Wisconsin, or in the

alternative each of those states that permit indirect-purchaser antitrust claims.

       Harley’s attempts to defend its warranty restrictions are weak, leading with the mistaken

assertion that the restrictions are somehow permissible because Harley merely threatened that it

“may” revoke the warranty. The Federal Trade Commission (“FTC”) indisputably has the

authority to regulate warranties and interpret its own regulations, and the FTC brought its own

action against Harley to challenge Harley’s practice, which was a straightforward violation of the

agency’s regulations. Harley settled that action by agreeing, pre-filing, to cure the alleged

misconduct. Nevertheless, Harley urges the Court to read the FTC action as though it never

happened because Harley agreed to cease its unlawful conduct without admitting any wrongdoing.

But Plaintiffs do not seek summary judgment based on preclusion (which would be available only

if Harley had admitted a violation). Instead, at this stage, Plaintiffs only need to have alleged a

plausible case.

       Harley also attacks the warranty claims on the basis that each rider must show a coverage

denial. That is not the rule, and Harley cites no authority to the contrary. Here, the Complaint

pleads that each rider overpays because of Harley’s conduct.

       Harley similarly misfires in its attacks on Plaintiffs’ antitrust claims, which are based on a

tying theory. The bike and warranty bundle (sold together as a single product) is the tying product,

and motorcycle parts are the tied product. Here, Harley has monopoly power in the tying market,

and it used its monopoly power in the tying motorcycle market to suppress the competitive fringe

and extract higher prices in the tied parts market. Harley’s attacks on the definitions of these



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markets run afoul of the Seventh Circuit’s clear message to district courts not to substitute

judgment calls for factual allegations in matters of market definition at the pleading stage. See,

e.g., Vasquez v. Ind. Univ. Health, Inc., 40 F.4th 582, 587 (7th Cir. 2022), infra at 23.

        In Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 471 (7th Cir. 2020), the Seventh Circuit

adopted the Sixth Circuit’s Collins Inkjet rule, Collins Inkjet Corp. v. Eastman Kodak Co., 781

F.3d 264, 272 (6th Cir. 2015). It is unlawful tying to adopt policies that make it unreasonably

difficult or expensive to buy the tying product (here, the bike) without the tied product (the parts).

In re Deere & Company Repair Service Antitrust Litig., MDL no. 3030 (N.D. Ill., November 27,

2023) (“Deere”), slip op. (tying properly pleaded where tractor maker used market power to force

owners to use authorized repair services). A rider that bought a competitor’s replacement part,

performance upgrade, or even a cosmetic personalization ran the risk of warranty cancelation by

Harley. It is unreasonable to expect a rider to expose themselves to the prospect of uncovered,

expensive repairs that would be incurred by using competitor parts in the first two years. Further,

any attempts to conjure a warranty exemption fail because Harley’s cases are obviously

distinguishable.

        Harley’s remaining arguments are particularized to certain state law claims, and are dealt

with seriatim below. None of them requires that the Court dismiss any part of this case, let alone

its entirety. Harley’s conduct was over the line, and very obviously so. Harley itself has already

changed its conduct after the FTC became involved. Its ridership, among the most loyal customers

of any American company, now seek redress.

                                            ARGUMENT

        To survive a Rule 12(b)(6) challenge, a “complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial
                                                    3

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plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Mann v. Vogel, 707 F.3d 872,

877 (7th Cir. 2013). Courts must accept all well-pleaded facts as true and draw reasonable

inferences in the plaintiff's favor. See, e.g., Forgue v. City of Chicago, 873 F.3d 962, 966 (7th Cir.

2017). After “excising the allegations not entitled to the presumption” of truth, courts then

“determine whether the remaining factual allegations ‘plausibly suggest an entitlement to relief.’”

McCauley v. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011). Under this standard, as seen

below, all of Plaintiffs’ allegations are more than sufficient to survive the pleading stage of

litigation. Any factual inquiries beyond plausibility are premature at this pre-discovery stage.

I.      PLAINTIFFS’ MAGNUSSON-MOSS CLAIMS

        The CAC properly pleads violations of both the “Tying Provision” and the “Disclosure

Provision” of the Magnuson-Moss Warranty Act (“MMWA”). Each rule is fairly straightforward.

With two limited exceptions that do not apply here, the Tying Provision prohibits a warrantor from

using the warranty to require the purchase of additional parts from a specific maker - here, Harley’s

own. The Disclosure Rule disallows discretionary or obscure warranty terms that could be a bait-

and-switch; the warranty terms must be plain and full. Here, Harley said it “may” void the

warranty for the use of competitors’ parts, and then directed the riders to their dealers for any

specifics. However, the warranty was not disclosed at the dealer locations.

        The violations alleged are clear, as evidenced by the fact that the FTC brought its own

action alleging violations of both provisions, and Harley immediately entered into a consent decree

to resolve that action.

        A.      Plaintiffs Plausibly Allege a Violation of the MMWA’s Tying Rule

        Per federal regulation, Defendants’ warranty practices were impermissible unless Harley

agreed to pay for the parts, or had preapproval from the FTC. It did neither. CAC ¶ 115. Under

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these circumstances, the “Tying Provision” of the MMWA, 15 U.S.C. §§ 2301-2312, provides

that, “[n]o warrantor of a consumer product may condition his written or implied warranty of such

product on the consumer’s using, in connection with such product, any article or service . . . which

is identified by brand, trade, or corporate name.” 15 U.S.C. § 2302(c); see also 16 C.F.R.

§ 700.10(a). The FTC’s interpretation of § 102(c) clarifies, “No warrantor may condition the

continued validity of a warranty on the use of … authorized replacement parts for non-warranty

service and maintenance.” 16 C.F.R. § 700.10(c). The regulation further illustrates: “provisions

such as, ‘‘This warranty is void if service is performed by anyone other than an authorized ‘ABC’

dealer and all replacement parts must be genuine ‘ABC’ parts,’’ and the like, are prohibited where

the service or parts are not covered by the warranty.”” Id., (emphasis added).

       Harley impermissibly and expressly tied its warranty to the use of authorized parts. First,

in the section labeled “Keeping it all Harley-Davidson,” Harley instructs consumers to “[u]se only

Harley-Davidson approved parts and accessories that have been designed, tested, and approved

for your model and model year motorcycle. . . . Insist that your authorized Harley-Davidson dealer

uses only genuine Harley-Davidson replacement parts and accessories to keep your Harley-

Davidson motorcycle and its limited warranty intact.” CAC at ¶ 114 (emphasis added). The

limited warranty also says “use of aftermarket parts may void all or parts of your limited

warranty.” Id., ¶ 116 (emphasis added). Under “Service Records,” the limited warranty states

that “the use of parts and service procedures other than Harley-Davidson approved parts and

service providers may void the limited warranty.”

       This express tie is an open-and-shut MMWA violation. Harley repeatedly uses imperatives

(e.g., “use only” and “insist”), not recommendations. See CAC at ¶ 114. The CAC pleads all

necessary elements of a violation of the MMWA’s tying rule. See Schaer v. Newell Brands Inc.,



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2023 WL 2033765, at *2 (D. Mass. Feb. 16, 2023) (provision that “attempt to repair or adjust any

electrical or mechanical functions on this product.... void this warranty,” violated the MMWA).

        Harley argues that the Court should differentiate between “may” and “will,” but it relies

entirely on cases that do not interpret the MMWA. Dunbar v. Kohn Law Firm, S.C., 896 F.3d 762,

765 (7th Cir. 2018), for example, concerned debt collection letters that contained false or

misleading statements, not a warranty. Harley cites entirely to debt collection cases with no

MMWA claim.

        While Harley argues that its use of the phrase “may void” rather than “will void” precludes

the possibility of an express tie, that argument ignores the fact that “may” just means “will in some

circumstances.”1 Harley is not expressing its uncertainty over whether the use of unauthorized

parts and services can void the warranty, it is declining to reveal under which circumstances it will

or will not take this action, impermissibly leaving purchasers of expensive motorcycles to guess

whether they will lose valuable warranty coverage by using the “wrong” parts. The FTC

interpretation of § 102(c) forbids language “such as . . . this warranty is void . . . and the like.” 16

C.F.R. § 700.10(c). Combining instructions to “use only authorized parts and services” and “insist

on use of authorized parts and services” with dire (albeit unclear) warnings that failing to do so

“may void” the limited warranty is tantamount to saying that it will do so, and thus falls within the

group of prohibited statements.

        Even if Harley’s use of “may void” could be deemed ambiguous, this would only result in

a different violation of the MMWA. Id. The question of how an ordinary consumer would


1
  For example, though Black’s Law Dictionary notes that while the word “may” generally “will
not be treated as a word of command unless there is something in context or subject matter of act
to indicate that it was used in such sense,” “courts not infrequently construe ‘may’ as ‘shall’ or
‘must’ to the end that justice may not be the slave of grammar.” Black’s Law Dictionary 979 (6th
edition ed. 1990).

                                                   6

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interpret the instructions is one of fact, inappropriate for resolution on a motion to dismiss. See,

e.g., Walkowicz v. Am. Girl Brands, LLC, No. 20-cv-374-JDP, 2021 U.S. Dist. LEXIS 26319, at

*5 (W.D. Wis. Feb. 11, 2021) (12(b)(6) motion “tests the legal sufficiency of the complaint; it is

not an opportunity to undertake fact-finding or weigh evidence.”); In re Rust-Oleum Restore

Mktg., Sales Practices & Prods. Liab. Litig., 155 F. Supp. 3d 772, 790 (N.D. Ill. 2016) (factual

inquiries regarding warranty’s purpose inappropriate for motion to dismiss).

       Defendants’ citation to Young v. Verizon’s Bell Atl. Cash Balance Plan, 615 F.3d 808, 823

(7th Cir. 2010), for the proposition that contracts are interpreted as a whole, is similarly

unpersuasive. Under that principle of contract interpretation, as discussed above, the fact that

Harley listed other specific acts as separate exclusions under the limited warranty implies that

Harley was not referring to those excluded acts when it discussed “unauthorized parts and

services.” It is Defendants, not Plaintiffs, who read the limited warranty in a way that renders

provisions superfluous by erasing Harley’s multiple statements that an owner’s use of

unauthorized parts and services may void the limited warranty. Harley’s reading renders these

provisions redundant with other, lawful provisions within the limited warranty.

       Harley also trots out unrelated provisions of the limited warranty in a specious attempt to

argue that it was actually referring to those other provisions when it warned that unauthorized parts

and services “may void” the limited warranty. Br. at 9-10. Harley’s argument is full of holes. First,

Harley only addresses the “Service Records” portion of the limited warranty; it ignores the other

two sections identified above, including their instructions that consumers must use authorized parts

and services to “keep your limited warranty intact.” Second, as discussed earlier, the “may void”

provisions cited in the CAC identify the use of unauthorized parts as the act that voids the warranty,

not any of the other provisions to which Harley points, such as “use of off-road parts” or



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“alterations outside of Harley-Davison’s specifications.” Id. This is underscored by the fact that,

when telling consumers that use of unauthorized parts and services “may void” the limited

warranty, Harley instructs the reader to “[s]ee an authorized Harley-Davidson dealer for details,”

(CAC at ¶ 31) rather than directing them to any more detailed specifications within the limited

warranty such as the “Exclusions” that Harley identifies in its motion to dismiss.

       Similarly, the fact that Harley states in a separate provision that “even” authorized parts

and accessories can void the warranty in no way makes it implausible that using unauthorized parts

would also do so. Rather, by advising owners that “even” authorized parts void the warranty,

Harley signals the heightened probability that unauthorized parts will likely do so. The same

analysis applies to the Consent Decree language Harley cites. Br. at 11-12. Even the warranty’s

language under its “Note” at the back of the booklet is presented not only as a distinct exclusion

from the use of “parts and service procedures other than Harley-Davidson approved parts and

service procedures,” but also in an entirely different, unrelated section, separated by several pages

of text. No reasonable reader would recognize two unrelated clauses separated by several pages

as redundant identifications of a single exclusion.

       Nor does § 203(a) of the Second Restatement of Contracts save Defendants. While §

203(a) provides generally that contracts should be interpreted so that all their terms are lawful,

Note C to § 203(a) cautions more specifically that “[i]f a term or a contract is unconscionable or

otherwise against public policy, it should be dealt with directly rather than by spurious

interpretation.” Further, “[w]hen a written warranty is ambiguous . . . its terms are construed

against the drafter.” See, e.g., Reger v. Ariz. RV Ctrs., LLC, 515 F. Supp. 3d 915, 932 (N.D. Ind.

2021); Shea v. GM LLC, 567 F. Supp. 3d 1011, 1019 (N.D. Ind. 2021) (denying motion to dismiss

MMWA claim where contract interpretation was ambiguous). Note C to § 203(a) applies here,



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and its command should be followed. Harley pressed this contract of adhesion on its riders; it

cannot save a facially impermissible provision through clever construction after the fact,

particularly because the MMWA and associated regulations mandate that the warranty terms be

“simple” and “clear.” See 15 U.S.C. § 2302(a) (terms must be “simple and readily understood

language”); 16 C.F.R. § 700.10(c) (terms must be “clear”).

        B.      Plaintiffs Have Alleged Harm

        The CAC alleges that “Harley-Davidson’s conduct caused Plaintiffs, and other Class

Members, to pay for Harley-Davidson authorized services or parts that they would not have paid,

or, at a minimum, would have paid less for, had Defendants not conditioned or tied warranty

coverage to the use of Harley-Davidson authorized services and/or parts.” CAC at 155; see also

id. at ¶ 124 (alleging that Plaintiffs “paid above-market prices” for parts), ¶ 78 (identifying specific

premiums charged for “genuine” Harley-Davidson parts), ¶ 35 (explaining how Harley’s conduct

involved dodging warranty repairs that it otherwise would have had to pay for). The CAC thus

alleges economic harm to the Plaintiffs that supports an Article III case or controversy.

        Defendants argue that Plaintiffs’ MMWA claim must fail because “no Plaintiff alleges that

Harley denied warranty coverage simply because they used unapproved parts.” (Br. at 12.)

Defendants are wrong for two reasons. First, the claim does not arise from each denial of coverage,

but from the fact that each Plaintiff paid for a motorcycle and warranty, got less warranty than the

law provides, and thus overpaid. The MMWA makes it unlawful to deceive consumers into

believing that the warrantor can void their limited warranty if a consumer fails to use “authorized”

parts or services. See, e.g., § 700.10(c) (noting that giving the impression that use of unauthorized

parts or services would void warranty was deceptive act under the MMWA); see also Schaer, 2023

WL 2033765, at *1         (“a product that contains an unlawful warranty - that is voided by any



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attempt to repair or adjust any electrical or mechanical functions - is worth less than a product that

does not contain such a restriction’ … This, is and of itself, would be an injury in fact.”).2

       Second, Harley improperly contests the facts.         The CAC expressly sets forth facts

demonstrating the precise pattern of warranty coverage denials Harley claims is absent. CAC ¶¶

32-34. Harley attempts to deflect from Plaintiffs’ well-pled allegations by improperly asking the

Court to make factual inferences in its favor at the pleading stage. See Burns v. Paddock, 503 F.2d

18, 28 (7th Cir. 1974) (“[O]n a motion to dismiss, the allegations in the complaint must, of course,

be taken as true with any reasonable inferences drawn in favor of the pleader.”); United States ex

rel. Roach Concrete, Inc. v. Veteran Pac., JV, 787 F. Supp. 2d 851, 857 (E.D. Wis. 2011) (J.

Griesbach). For example, Defendants ask the Court to conclude that mounting a flag on the back

of a motorcycle created “undue wind drag,” such that it was reasonable for Harley to void that

user’s limited warranty in its entirety. (Br. at 13.). Harley invites the Court to make an improper

- and fairly outrageous - inference in Defendants’ favor. See also id. (asking the Court to accept

Defendants’ factual assertion that “the dealer denied the coverage not simply because a flag was

installed, but because the installation interfered with the performance of the motorcycle,” and to




2
  It is well settled that a plaintiff “may prove actual damage” “by showing that they paid more than
the actual value of the bargain.” Siegal v. GEICO Cas. Co., 523 F. Supp. 3d 1032, 1043 (N.D. Ill.
2021) (Coleman, J.). Overpayment for a product is thus a cognizable economic loss. See In re
Aqua Dots Prod. Liab. Litig., 654 F.3d 748, 751 (7th Cir. 2011) (“The plaintiffs’ loss is financial:
they paid more for the toys than they would have, had they known of the risks the beads posed to
children.”); John v. Whole Foods Mkt. Grp., Inc., 858 F.3d 732, 736-38 (2d Cir. 2017) (explaining
that price premium satisfied the injury element of a consumer fraud statute). Though certain cases
have held that this rule does not apply to warranties by themselves, the case at hand is easily
distinguishable given that the tying product at issue is a bundle of a new motorcycle with a
warranty. The loss of warranty coverage clearly devalues a new motorcycle, and therefore the loss
of value in the warranty here is a cognizable financial injury.


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conclude that “performance work” was synonymous with use of “unapproved performance

enhancing tuners”).

       The CAC pleads in detail a “course of conduct” of denial supporting Plaintiffs’ warranty

claims. Defendants may not “ignore[] all the specific allegations” of an alleged pattern. Deere,

slip. op. at 52. Harley’s only answer is to ask that the Court substitute Harley’s explanations for

the pleaded facts, even though the pleading standard requires otherwise and the parties have not

yet conducted discovery and presented the Court with an evidentiary record.

       C.      The CAC Properly Alleges a Violation of the MMWA’s Disclosure Rule

       Plaintiffs adequately allege that Harley violated the MMWA’s Disclosure Rule, CAC at

¶¶ 122-23, by keeping its invalidation standards secret. Harley violated the Disclosure Rule by

“conceal[ing] the Limited Warranty” and “instruct[ing] consumers to consult with a Harley-

Davidson dealer for full details.” Id.3 By keeping its invalidation standards close to the vest,

Harley could keep riders guessing what would actually void the warranty, which itself violates the

MMWA.

       Warrantors must “fully and conspicuously disclose in simple and readily understood

language the terms and conditions of” limited warranties. 15 U.S.C. § 2302(a). The “Disclosure

Rule,” the FTC’s regulation, requires the warrantor to include in a single document a “clear

description and identification of products, parts, characteristics, components, or properties covered

by and, where necessary for clarification, excluded from the warranty.” 16 C.F.R. § 701.3(a)(2).

Harley violated this rule.



3
  The CAC further alleges that Harley violates this rule by telling consumers that “[s]ome
countries, states, or other locations may require all maintenance and service work to be done by
an authorized Harley-Davidson dealer for your warranty to remain in effect. Check with your local
Harley-Davidson dealer for local requirements.” Id.

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        Harley argues, with no support, that Plaintiffs must identify the specific terms that were

omitted in order to plead a claim for violation of the Disclosure Rule. Again, Harley is wrong.

What Harley omitted was that it had secret standards that could be only learned, if at all, by

consulting a dealer or by costly trial and error that, at best, risked voiding the warranty.

        Next, Harley asserts that Plaintiffs admit in the Complaint that they were told of all relevant

warranty terms “by the Limited Warranty documents.”               But Harley’s argument is facially

untenable. “Check with your local Harley-Davidson dealer” is not a warranty term. Nor is it, as

Harley maintains, a cross-reference to the limited warranty’s “exclusions” section, or the

“unapproved modifications” therein.

        D.      Pre-Sale Warranty Obligations Do Not Help Harley

        Harley’s challenges to Plaintiffs’ claims under the FTC Act’s Pre-Sale Availability Rule

ignore Plaintiffs’ well-pleaded allegations and are simply incorrect under the rule itself. Under that

rule, warrantors must supply materials and ensure that sellers “make a text of the warranty readily

available for examination by the prospective buyer by: (1) Displaying it in close proximity to the

warranted product . . . or (2) . . . placing signs reasonably calculated to elicit the prospective buyer’s

attention in prominent locations in the store or department advising such prospective buyers of the

availability of warranties upon request.” 16 C.F.R. § 702.3(b).

        Harley argues (incorrectly) that Plaintiffs have asserted a violation of § 702.3(a) of the Pre-

Sale Availability Rule without alleging that Harley failed to supply sellers with the necessary

materials. This is doubly wrong. Section 702.3(a) sets forth the seller’s duties, which apply to the

dealer, not to Harley as the Warrantor. The CAC invokes the warrantor’s duties under § 702.3(b)

- not the dealer’s duties under §702.3(a) - and also expressly alleges that “Harley-Davidson

violates this regulation because it does not provide its authorized dealers with signs displaying the



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text of the Limited Warranty, or otherwise require its dealers to make the Limited Warranty terms

available to all customers before purchase.” CAC, ¶ 121.

       Defendants also argue that Plaintiffs cannot allege a plausible claim under the Pre-Sale

Availability Rule because Plaintiffs have admitted that they received notice of the limited

warranty’s terms. (Br. at 15.)      However, Plaintiffs have alleged that the limited warranty

documents failed to disclose the real terms - the actual practice that riders could only learn from a

dealer, if they could learn them at all. CAC ¶¶ 122-123. Defendants’ argument also overlooks the

distinction between pre- and post-sale notice of the limited warranty’s terms. Plaintiffs did not

allege that the limited warranty was provided before sale. Rather, Plaintiffs specifically allege that

Harley, as warrantor, did not give the necessary materials to its sellers, CAC, ¶ 104, such that the

materials were not displayed, and the plaintiffs were not given notice of the limited warranty before

they purchased their motorcycles, which violates the Pre-Sale Availability Rule.

       Harley’s fallback is that it supplied the limited warranty via the internet as allowed by 16

C.F.R. § 702.3(b)(2). This, too, is misplaced. To satisfy that method of dissemination, Harley

must meet all four additional criteria laid out in § 702.3(b)(2)(i)-(iv), which they did not.4

Accordingly, Harley has not satisfied the requirements under this subsection, and the motion to

dismiss Plaintiffs’ claims under the Pre-Sale Availability Rule must be denied.

       E.      The FTC Action Supports the Plausibility of the MMWA Allegations

       The commencement and resolution of the FTC action supports the plausibility of Plaintiffs’

MMWA allegations. Harley erroneously and illogically argues that the FTC’s filing of a complaint

against it arising out of the same misconduct has no bearing on this case. Congress authorized the


4
  Under § 702.3(b)(2)(iv) the warrantor’s website must contain terms “sufficient to allow the
consumer to readily identify . . . the warranty terms that apply to the specific warranted product.”
The CAC alleges that directing consumers to “local dealers” is the opposite of stating the terms.

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FTC to interpret and enforce the MMWA. As such, the FTC is entitled to deference in its

interpretation of the MMWA, and its own enforcement action against Harley supports the

plausibility of Plaintiffs’ allegations that mirror the FTC’s Complaint.5 See, e.g., Chevron, U.S.A.,

Inc. v. NRDC, Inc., 467 U.S. 837, 844 (1984) (“considerable weight should be accorded to an

executive department’s construction of a statutory scheme it is entrusted to administer”); Cisneros

v. Lynch, 834 F.3d 857, 862 (7th Cir. 2016) (applying Chevron). The FTC’s claim that Harley

violated the Tying Rule substantiates the plausibility that Harley’s “may void” language falls

within the scope of conduct prohibited under the MMWA. Similarly, the FTC’s claim that Harley

violated the Disclosure Rule by referring purchasers to “local dealers” to discover precisely what

would void the warranty, strongly supports the plausibility of Plaintiffs’ allegations.

       Harley’s arguments to the contrary are not persuasive. Harley first posits that the FTC

might not even have published its complaint if Harley had not agreed to settle the case. This

counterfactual is nothing more than speculation. Harley’s next argument - that the Court should

assume the defenses Defendants chose not to litigate against the FTC would have succeeded had

Harley instead chosen to move to dismiss the FTC’s Complaint - is even more speculative, and it

requires factual inferences and assumptions be made in Harley’s favor, which would be improper

on a motion to dismiss. Br. at 15. Finally, Defendants argue that the FTC Complaint and Consent

Decree are irrelevant because they do not include an admission of liability, a fine, or findings of

fact. Id. at 15-16. But the FTC’s analysis and conclusion are probative not only of the proper

interpretation of the Tying and Disclosure Rule, but also that Harley was in violation of them.

Plaintiffs recognize that Harley’s Consent Decree is not preclusive, In re Linerboard Antitrust



5
 The FTC asserted violations of the Tying and Disclosure Rules, but not the Pre-Sale Warranty
Rule.

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Litig., 223 F.R.D. 335, 338 n.2 (E.D. Pa. 2004), but it does support plausibility.

       The cases Defendants cite do not change this analysis. The sentence Harley cites from

Pension Tr. Fund for Operating Eng’rs v. Devry Educ. Grp., 2017 U.S. Dist. LEXIS 200272, at

*33 (N.D. Ill. Dec. 6, 2017), was directed to whether a consent decree evidenced the defendant’s

notice of a claim’s falsity years prior to the entry of that settlement, which is entirely irrelevant

here. Similarly, in In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1196 (9th

Cir. 2015), the Court was addressing whether it could infer from an FTC complaint and Consent

decree alleging one set of facts, that a second, unalleged set of facts had occurred. Here, Plaintiffs

submit the FTC complaint only as corroboration of the essentially identical facts pled between this

and that action. See McDermott v. Marcus, Errico, Emmer & Brooks, P.C., 775 F.3d 109, 122 (1st

Cir. 2014) (“[B]ecause Massachusetts has folded the FTC Act into Chapter 93A, unfair or

deceptive conduct that violates the FTC Act also violates Chapter 93A.”).

II.    PLAINTIFFS’ ANTITRUST CLAIMS

       To establish an illegal tying arrangement,6 “a plaintiff must show that: (1) the tying

arrangement is between two distinct products or services, (2) the defendant has sufficient economic

power in the tying market to appreciably restrain free competition in the market for the tied

product, and (3) a not insubstantial amount of interstate commerce is affected.” Reifert v. S. Cent.

Wisconsin MLS Corp., 450 F.3d 312, 316 (7th Cir. 2006) (quoting Carl Sandburg Vill. Condo.



6
  As an aside, though this case proceeds under various state laws rather than under the federal
Sherman Act, Harley makes no attempt to distinguish between federal and state law standards.
Plaintiffs agree that, as to the nature of impermissible conduct, that they are generally
interchangeable. In general, federal Section 1 ties are judged on a per se standard. Wisconsin’s
antitrust statute, for example, was intended to be a reenactment of the federal Sherman Antitrust
Act       and        is    generally      controlled      by     federal      court    decisions.
https://docs.legis.wisconsin.gov/statutes/statutes/133/03,   citing    Lerma       v.  Univision
Communications, Inc., 52 F. Supp. 2d 1011 (1999).

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Ass'n No. 1 v. First Condo. Dev. Co., 758 F.2d 203, 207-08 (7th Cir.1985)); see also In re Deere

& Company Repair Service Antitrust Litig., MDL No. 3030 (N.D. Ill., November 27, 2023)

(“Deere”), slip op. at p. 79 (adding “(4) the tying seller has an economic interest in the sales of the

tied product”). As described herein, Plaintiffs have done just that, through three separate theories,

which Defendants fail to distinguish: through a tie designed to cause restraint of trade, through a

tie with a captive aftermarket, and through a tie constituting monopolization. See, e.g. CAC ¶¶

39-40; 51. It is important to recognize that, though Plaintiffs aver that Harley has violated antitrust

law through all three, if one fails the others still stand.

        A.      Plaintiffs Have Alleged an Antitrust Tying Arrangement

        Defendants attempt to poke holes in Plaintiffs’ antitrust allegations through five equally

unsuccessful tactics, discussed below in turn. As explained below in greater detail, the simple

facts are that: (1) Harley forced customers of its new motorcycles (bundled with warranties) to buy

Harley parts, contrary to Defendants’ seeming attempts to create a new kind of standard that would

ban any kind of warranty arrangements from being considered in a tying case; (2) Plaintiffs have

sufficiently alleged relevant markets, bolstered with extensive research and factual allegations; (3)

Plaintiffs have adequately alleged restraint of trade and a tie constituting monopolization; (4)

Harley misplaces case law in order to impose a burden on Plaintiffs not allowed in this Circuit;

and (5) it is entirely permissible for Plaintiffs to bring their claims under Wisconsin antitrust law,

as Harley is based in and submits to that jurisdiction.

        First, Defendants overlook key allegations. Here, the pleaded tying product is a bundle,

consisting of the motorcycle with the warranty. CAC ¶¶ 30, 39. They are not sold separately.

Each new motorcycle is sold together with a warranty, just as surely as it is sold with paint, a seat,

and a headlight. This allegation distinguishes this litigation from many of Defendants’ cited cases

and undermines their arguments. For example, Harley claims that “[e]ven if a consumer wanted
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or needed parts during the limited warranty period, the alleged ‘risk’ of losing the warranty does

not create a tie because the consumer is not precluded from buying the motorcycle.” Br. at 20

(citing Va. Panel Corp. v. MAC Panel Co., 133 F.3d 860, 870 (Fed. Cir. 1997) (holding that

“voiding a warranty, or threatening to do so, does not constitute use of a patent to control

unpatented products” and affirming jury verdict finding no illegal tying arrangement), and DXS,

Inc. v. Siemens Med. Sys., 991 F. Supp. 859, 864 (E.D. Mich. 1997) (out-of-circuit district court

found insufficient evidence of tie at summary judgment stage)).

       Defendants also ignore that an illegal tying arrangement can alternatively consist of forcing

a promise not to buy from a competitor, which Harley has done here. CAC at ¶ 114. See Eastman

Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 463 (1992) (“Finally, respondents have

presented sufficient evidence of a tie between service and parts. The record indicates that Kodak

would sell parts to third parties only if they agreed not to buy service from ISO’s.”).

       Harley’s demand that riders buy only its branded parts or have the warranty protection

revoked, drives up the cost of owning a motorcycle altogether, which this Circuit has expressly

recognized as tying. See Viamedia, Inc., 951 F.3d at 471 (holding that “[i]n applying the antitrust

laws, we care more about economic substance than about form” and that the policy of banning the

use of Viamedia had the “practical effect” of forcing the use of Comcast’s ad rep services), citing

Collins Inkjet Corp. v. Eastman Kodak Co., 781 F.3d 264, 272 (6th Cir. 2015) (“When a defendant

adopts a policy that makes it unreasonably difficult or costly to buy the tying product (over which

the defendant has market power) without buying the tied product from the defendant, it ‘forces’

buyers to buy the tied product from the defendant and not from competitors”) (emphasis added).

       In Deere, the Court recently considered an allegation very like the one at issue - that a

monopoly tractor maker unlawfully prevented its buyers from using any but its own dealers’ repair



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services - and held that the plaintiffs stated a claim for unlawful tying of a derivative aftermarket,

both under Section 1 and Section 2 of the Sherman Act. Deere, slip op. at 89.

       Further, Harley’s only answer to Plaintiffs’ allegations is to repeatedly proffer its own

contradictory factual assertions or explanations, which are not appropriate in a motion to dismiss.

See e.g. Br. at 13; see also Deere, slip op. at 52, 71 (“Deere does not contest the truthfulness of the

allegations – because it can’t with a Rule 12 motion”). Plaintiffs demonstrate that this arrangement

was impactful. For example, part of Harley’s modus operandi was to ensure that dealers

invalidated as many of these warranties as possible, by delaying reimbursement for warranty

repairs. CAC ¶ 34. Plaintiffs plead that customers did not modify their bikes because Harley’s

terms were “see the dealer.” Any modification could lead to a warranty being invalidated not - just

those that caused an issue. See e.g. CAC ¶¶ 31, 33 (wherein the mere addition of a flag caused a

warranty to be cancelled in its entirety). This is not a case where warranties were cancelled because

consumers’ unauthorized repairs heightened the risk on the part of the warrantor, as seen in the

only cases Defendants can cite (discussed below). Purely cosmetic alterations and additions - even

a small flag - would cancel a warranty that a consumer needed to repair an unrelated issue. CAC

¶ 33. See Deere, slip op. at 52, 71 (“Deere does not contest the truthfulness of the allegations -

because it can’t with a Rule 12 motion”).

       Harley argues that “Plaintiffs do not allege that consumers were forced to buy Harley-

Davidson parts in order to buy a motorcycle. Consumers could buy a Harley-Davidson motorcycle

and no parts during the limited warranty period, for example.” (Br. at 20). But this simply ignores

the aforementioned rule that tying exists when a firm makes it too expensive or burdensome to use

a competitor’s product. See, supra, Collins Inkjet, 781 F.3d at 272. Every rider overpays due to

the warranty violations. Each motorcycle purchaser overpays because of the deficient warranty,



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but further, the entire subset of those riders who also buy parts is additionally overcharged on the

parts. Harley’s improper tie stifled competition from non-Harley parts makers, trapping the

warranty holders into buying only Harley’s branded versions, and allowing Harley to charge a

supercompetitive price for its parts. Parts buyers are alleged to constitute a distinct class, CAC ¶

127, with their own additional injury and damages.

       It is no answer to say that Harley buyers could factor in the limitations to their purchases.

The CAC alleges that motorcycle repairs are costs that cannot be reliably anticipated two years in

advance with accuracy - in other words, these consumers are not able to effectively forecast

“lifecycle cost.” As the Supreme Court recognized, “[l]ifecycle pricing is complex, durable

equipment is difficult and costly.” Eastman Kodak Co.      , 504 U.S. at 473. A customer factoring

a captive aftermarket into initial purchase “must acquire a substantial amount of raw data and

undertake sophisticated analysis [of] price, quality, and availability of products needed to operate,

upgrade, or enhance the initial equipment, as well as service and repair costs, including estimates

of breakdown frequency, nature of repairs, price of service and parts.” Id.

       In Eastman Kodak, the Supreme Court was grappling with copying and micrographic

equipment; even in the 1990s, that would not have presented the complexity of lifecycle pricing

in this case, because the Harley ridership seeks to personalize and upgrade their motorcycles.

While the copy equipment in Kodak was presented as a matter of maintaining function, the

ridership here would have to predict both what they might want to upgrade or customize after they

buy the motorcycle, and then also forecast the cost, surely an unreasonable prediction to ask of a

consumer. See, e.g., CAC ¶ 80. That leaves aside the possibility that the aftermarket parts will

replace those that become cosmetically damaged by normal wear and tear, and that the owner may

want to replace with a custom part, which is even less susceptible to reasonable forecasting. Harley



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avers that “[w]hat Plaintiffs’ allegations actually speak to is ‘the common human inability to

predict the future with certainty…’ Br. at 39 (quoting Xerox Corp. v. Media Scis., Inc., 660 F.

Supp. 2d 535, 549 (S.D.N.Y. 2009)). But this ignores the specific lifecycle pricing issues that

motor vehicles face in particular. In Deere, the Court closely analyzed allegations that lifecycle

cost could not be readily forecast, and found that such allegations supported a tying claim in a

derivative aftermarket very similar to that at issue here. Deere, slip op. at 53-55, 59-61. Harley

points to no other case for a contrary proposition, and none in which a manufacturer was permitted

to restrict a motor vehicle or equipment owner to only its preferred parts or repairs.

       Sheridan v. Marathon Petroleum Co. LLC, 530 F.3d 590, 596 (7th Cir. 2008), which Harley

cites for the proposition that an “additional cost” akin to the loss of warranty coverage “is not a

penalty... to force the use of a product” is inapposite here. Sheridan has nothing to do with

warranty coverage, and instead concerns the requirement of one specific credit card processing

service for one credit card out of many that the defendant’s dealer franchises accepted. There, the

dealers were entirely free to accept other credit cards and to use whatever processing services they

liked, and defendant imposed no added cost to doing so, though the plaintiff might have found an

alternate system unnecessary and duplicative of the system required for processing the defendant’s

branded cards. Here, Harley imposes only Harley branded parts for all new bikes under warranty,

with the threat that if customers do not comply they will lose warranty coverage, causing their

overall repair costs during the warranty period to potentially skyrocket. CAC ¶ 98.

       It is telling that Harley cannot find any case within this Circuit to support its argument here,

instead importing distinguishable cases from other Circuits and then gerrymandering them into an

invented rule not supported by any case Harley cites - that warranties cannot be used in tying cases

at all. Indeed, Harley blithely states that just because warranties have requirements does not mean



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they are anticompetitive ties (Br. at 20-21), but this glosses over the clear unlawful nature (as the

FTC saw it) of Harley’s warranties (as the FTC saw it) and the specific effects on the tied market

alleged by Plaintiffs. Indeed, the inapposite (and non-binding) requirements cited by Harley in its

brief in support of this proposition point not to the idea that manufacturers have the unfettered

right to use warranty coverage to place as many restrictions on their products as they please, but

rather only that they can instead condition their coverage to limit damage that might be caused by

a consumer unknowingly using products not meant for the products under warranty. Neither GMC

v. Gibson Chem & Oil Corp., 786 F.2d 105, 110 (2d Cir 1986) nor Fido’s Fence, Inc. v. Canine

Fence Co., 672 F. Supp. 303, 312 (E.D.N.Y. 2009) concern blanket bans on non-branded repair

parts, but instead involve manufacturer recommendations that certain brands of parts be avoided

by the consumer to limit the risk of damage to the original product - a strategy used by

manufacturers to limit the amount of repairs they are obligated to pay for.

       The rest of Harley’s citations are also unavailing; in HDC Med., Inc. v. Minntech Corp.,

411 F. Supp. 2d 1096, 1102 (D. Minn. 2006), the tie failed because customers were free to use

third-party software, and Minntech’s proprietary software was not the only economic option.

Similarly, in RX Sys. v. Med. Tech. Sys., 1995 U.S. Dist. LEXIS 14214, at *16 (N.D. Ill. Sep. 29,

1995), which had to do with machines that read pill cards, and limitations on modifying the

machines to accept third party cards, there was no prohibition on using third party pill cards and

the warranties for the machines lasted only 90 days. Schor v. Abbott Labs., 457 F.3d 608, 610 (7th

Cir. 2006), meanwhile, is entirely inapposite as it involves two separate patented drugs sold

together that could each be freely bought separately without restraint, though buying them together

resulted in a discount. And Harley even quotes from SMS Sys. Maint. Servs. v. Dig. Equip. Corp.,




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188 F.3d 11, 20 (1st Cir. 1999)7 that warranties acting as “a subtle disincentive” (emphasis added)

are not “inherently anticompetitive.” But there is no “subtle disincentive” in the case at hand. Any

single alteration or cosmetic enhancement on a motorcycle with a non-Harley product runs the risk

of voiding the warranty on a new, $20,000+ bike. If one day the engine blows, the rider is left up

a creek without a paddle. No reasonable customer would risk this.

       Indeed, if there is a rule to be gleaned from Harley’s selected cases, it is that manufacturers

can use product recommendations to limit their costs for warranty repairs. But Harley’s warranty

is extreme - it bans outright, on threat of voiding the warranty, all    non-branded parts, and this

threat is carried out. See e.g. CAC ¶ 33. Harley proposes a new rule that a warranty can never be

a tie, no matter what it says or the circumstances surrounding it and the relevant product markets

- which is simply not the law anywhere, and would permit conduct expressly forbidden under the

MMWA.

       Harley’s warranty limitations, challenged by the FTC, cut off any meaningful consumer

choice as to parts for a period of two years. This served to as means for Harley to foreclose

competition from parts manufacturers for customers who might want to customize their new bikes,

without any regard to the issues of potential damage cited by GMC or Fido’s Fences. This

impacted the price of parts as a whole, and helped create barriers to entry for new competition into

said parts market. See CAC ¶¶ 92, 98.




7
 While the First Circuit ruled in SMS Syst. Maint. Services that the computer and the warranty
were separate products that rested on uncontroverted testimony that the computer was often sold
with different kind of warranty packages, or without any at all. Here, new motorcycles are sold
automatically as a bundle with the one specific warranty at issue in this case; there is no customer
choice.

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       Next, Defendants pin their hopes on the Eighth Circuit’s ruling against a warranty

constituting a tie in Marts v. Xerox, 77 F.3d 1109, 1112 (8th Cir. 1996).8 Their argument again

comes up short. First, that case was decided on summary judgment with a complete factual record,

not on the pleadings. “District courts skate on wafer-thin ice when they rely upon summary

judgment cases in deciding motions attacking the pleadings.” Deere, slip op. at 40 (citing cases).

In addition, in Marts, Xerox’s warranty offered servicing of copiers in a flat exchange for abiding

by the warranty’s requirement to use only Xerox cartridges and the Court appears to have inferred

a “lifecycle pricing” calculus. This allowed customers to be able to shop around9 and figure out

whether or not it was cheaper to buy different ink cartridges and receive service elsewhere than to

keep the Xerox warranty.

       But Plaintiffs have specifically pleaded the inability to predict lifecycle pricing here. CAC

¶¶ 72-84. That is to say that unlike the consumers of Xerox copiers, motorcycle riders are unable

to accurately foresee what future repair costs of their bikes are. Moreover, unlike the consumers

of copiers, which are stationary objects that require predictable levels of servicing, Harley

consumers ride $20,000+ motor vehicles through changing traffic, weather, and road conditions

that present constant and unpredictable risks to the bike. There is simply no way to know how

many repairs will be needed, and the risk of riding around on an expensive new bike without a

warranty is far greater than the risk of having to pay for non-branded copier servicing - the cost of



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  Hypertherm, Inc. v. Am. Torch Tip Co., 2007 U.S. Dist. LEXIS 67579, at *17 (D.N.H. Sept. 11,
2007), which Defendants cite to quote Marts, is distinguishable from the facts in this case as well
as it concerned the threats to customers not to use third-party parts only after they had purchased
the alleged tying products in question.
9
 Xerox did not have a monopoly in the primary market, but here, Harley’s monopoly in the market
for large, American roadgoing motorcycles means that competition in the primary market –
shopping around for the tying product with the competitive aftermarket, rather than the tied product
– cannot discipline prices in the tied product market. CAC ¶ 76.

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which is discrete and easily researchable. See Deere, slip op. 53-55, 59-61 (information to

lifecycle price unavailable). Plaintiffs are not “free to forego the benefits of a warranty” (id.)

because, as the Supreme Court warned in Eastman, 504 U.S. at 473, the risks of doing so are far

too unknowable and great.

       B.      Plaintiffs Have Plausibly Alleged Antitrust Markets

       “The proper market definition . . . can be determined only after a factual inquiry into the

‘commercial realities’ faced by consumers.” Id. at 482 (1992) (quoting United States v. Grinnell

Corp., 384 U.S. 563, 572 (1966)). “Because market definition is a deeply fact-intensive inquiry,

courts hesitate to grant motions to dismiss for failure to plead a relevant product market.” Todd v.

Exxon Corp., 275 F.3d 191, 199-200 (2d Cir. 2001) (J. Sotomayor); accord E.I. du Pont de

Nemours and Co. v. Kolon Industries, Inc., 637 F.3d 435, 444 (4th Cir. 2011). Plaintiff need only

plead “the rough contours of a relevant market,” Deere slip op. at 42, citing Republic Tobacco Co.

v. N. Atl. Trading Co., 381 F.3d 717, 738 (7th Cir. 2004).

       For antitrust purposes, a relevant market “is comprised of the ‘commodities reasonably

interchangeable by consumers for the same purposes.’” Sharif Pharm., Inc. v. Prime Therapeutics,

LLC, 950 F.3d 911, 916-17 (7th Cir. 2020) (quoting United States v. E. I. du Pont de Nemours &

Co., 351 U.S. 377, 395 (1956) (“Cellophane”)). Its outer limits “are determined by the reasonable

interchangeability of use or the cross-elasticity of demand between the product itself and

substitutes for it.” Id. at 917 (quoting Brown Shoe Co. v. United States, 370 U.S. 294, 327 (1962)).

Particularly at the motion to dismiss stage, both product markets alleged by Plaintiffs more than

clear this low bar.




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                1.      The CAC Sufficiently Pleads a New Market for American-Made,
                        Large, Roadgoing Motorcycles

        Defendants ignore or contest the well-pleaded facts of the CAC arguing that Plaintiffs’

allegation that the tying market comprised of American-made, new, large roadgoing bikes, see

CAC ¶ 32, is inadequate for three reasons: (1) American-made motorcycles are interchangeable

with foreign-made motorcycles; (2) contrary to Plaintiffs’ express allegations, the market

identified by Plaintiffs is actually a single-brand market and therefore is not plausible; and (3) the

market should include used bikes. Each argument fails for multiple reasons.10

        The Supreme Court has recognized that “within [a] broad market” - such as motorcycle -

“well-defined sub-markets may exist which, in themselves, constitute product markets for antitrust

purposes.” Brown Shoe Co., 370 U.S. at 325 (footnote omitted). I t has identified several “practical

indicia” of an economically distinct submarket: “industry or public recognition of the submarket

as a separate economic entity, the product’s peculiar characteristics and uses, unique production

facilities, distinct customers, distinct prices, sensitivity to price changes, and specialized vendors.”

Id. Consideration of these types of factors demonstrates that the market for new, American-made,

large, roadgoing motorcycles is such a submarket.

        As Plaintiffs allege, American-made bikes do not experience cross-elasticity of demand

with non-American-made bikes. CAC ¶¶ 48, 49. Beginning in the 1980s, Harley focused its

efforts on large displacement engines - bikes on which, due to tariffs and other reasons, Japanese

manufacturers could not and did not compete - and so Japanese manufacturers continued their

focus on small-engine bikes, known as Universal Japanese Morotcycles (or “UJM bikes”). CAC

¶¶ 30-32.   Consumers’ differentiation between American-made bikes and UJM bikes have


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   Defendants do not contest that defining the relevant product market based on engine size
(“large”) or intended use (“roadgoing”), see CAC ¶¶ 44-46 are well-supported differentiations.

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persisted ever since. Consumers and publishers recognize American-made bikes as their own

distinct product market, with a dedicated enough consumer base to support a specialty periodical,

American Iron Magazine, for thirty years, CAC ¶ 48.

       Harley owners are dedicated to expressing their patriotism through riding an American-

made bike and would not ride a foreign-made bike even if it were a comparable machine at a lower

price. CAC ¶ 49. Harley itself understands this commitment and seeks to profit from it, adopting

patriotic iconography for its products and selling USA-themed merchandise for its bikes. CAC

¶ 49-50. On multiple occasions, this patriotic aspect of the subculture has been the subject of

ethnographic academic study. CAC ¶ 51-52. These shared understandings among consumers and

sellers that foreign-made products could not be satisfactorily substituted for those inside the market

suffice to adequately allege the relevant product market. Dixon v. Nat’l Hot Rod Ass’n, No.

119CV01470JRSDML, 2021 WL 1175198, at *7 (S.D. Ind. Mar. 29, 2021).

       And, for that matter, Harley’s reliance on the German Auto decision for a rule against

product markets defined by origin is misplaced. In that case, the plaintiffs who pleaded a “German

Luxury Vehicles” submarket also pleaded direct competition between German and non-German

vehicles and notably did not plead any of the factors Plaintiffs allege here, such as consumer

differentiation between American-made motorcycles and non-American-made motorcycles, and a

lack of cross-elasticity of demand between those market segments. See In re German Auto. Mfrs.

Antitrust Litig., 612. F. Supp. 3d 967, 980 (N.D. Cal. 2020).

       Moreover, Defendants’ contention that Plaintiffs have pleaded a single-brand market is

simply false, and ignores multiple factual allegations that the Court must at this stage accept as

true. The market pleaded by Plaintiffs includes not just motorcycles produced by Harley, but also

multiple others, including most notably the longstanding, though less ubiquitous, Indian. CAC



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¶¶ 48, 51, 52. Harley’s dominance in this market belies its market power, but it does not

transfigure the product market defined by Plaintiffs into one comprising a single brand, and

Defendants’ arguments about a single-brand market therefore are irrelevant.11

       Finally, used bikes are not reasonably interchangeable with new bikes within the large,

American-made, roadgoing motorcycle market, and Plaintiffs’ exclusion of used bikes from the

relevant product market is plausible. Manufacturers’ warranties are only available with new bikes,

and consumers cannot substitute used bikes for new bikes without sacrificing this important, non-

replaceable attribute. CAC ¶ 47. Defendants’ say-so that the Court should not accept this

distinction as relevant to consumers’ purchasing decisions is precisely the same argument the

Seventh Circuit has rejected in past market-definition decisions: “[The pleading stage] is not the

time to evaluate the merits of [Plaintiffs’] allegations, and that in any event is a task that requires

expert testimony.” Vasquez, 40 F.4th at 586. The sole case cited by Defendants, First Priority

Emergency Vehicles, Inc. v. REV Ambulance Group Orlando, Inc., No. 3:18-CV-9805-BRM-

DEA, 2020 WL 2029344, at *4 (D.N.J. Apr. 28, 2020), is distinguishable because there, the

complaint included allegations essentially admitting that at least in some instances the large

availability of used ambulances had affected sales of new ambulances, indicating that cross-

elasticity of demand did in fact exist between used and new ambulances. No such facts have been

alleged here. The exclusion of used motorcycles from the relevant product market is plausible.

       In any event, the definition of the relevant product market is inappropriate for resolution

on a motion to dismiss, when, as here, the Plaintiffs have more than plausibly alleged a clearly



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  They are also legally incorrect. As the Supreme Court has recognized, “in some instances one
brand of a product can constitute a separate market.” Eastman Kodak Co. v. Image Tech. Servs.,
Inc., 504 U.S. 451, 482, 112 S. Ct. 2072, 2090, 119 L. Ed. 2d 265 (1992) (citing cases.) See also
Deere, slip op. 55 (accepting well-pled single brand aftermarket).

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defined market, with extensive research, economic analysis, and academic studies backing it up.

Any factual disagreements must be resolved after the discovery stage of litigation.

                2.      The CAC Sufficiently Pleads a Compatible Parts Market

        Defendants seemingly accept - as they must, on a Rule 12 motion, as well as by force of

logic - that for Harley owners, no cross-elasticity of demand exists between Harley-compatible

parts and non-compatible parts. See CAC ¶¶ 39, 54. Their sole attack on the Compatible Parts

Market pleaded by Plaintiffs, see CAC ¶¶ 54-74, is merely that not all motorcycle parts are

interchangeable with one another - e.g., a customer would not buy an armrest to replace a

windshield. Br. at 49. Implicit in this argument is the idea that Plaintiffs should have pleaded not

one unified Compatible Parts Market but rather thousands of individual Compatible Part Markets

- a Compatible Windshield Market, a Compatible Armrest Market, and so on. But Defendants’

argument is contrary to decades of controlling authority. “[P]roducts need not be fungible to be

considered in the relevant market,” Cellophane, 351 U.S. at 394, and to require a showing that

Defendants have “monopoly power in thousands of markets would be both unduly burdensome

and pointless.” Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1205 (9th Cir.

1997) (citing Brown Shoe Co. v. United States, 370 U.S. 294, 327 (1962) (affirming market

definitions for men’s, women’s, and children’s shoes and rejecting defendant’s argument for

further differentiation by age, style, or other characteristic because “[f]urther division [of the

product market] does not aid us. . . .”)).

        “The relevant market for antitrust purposes is determined by the choices available to

[Harley] owners.” Eastman Kodak, 504 U.S. at 481–82 (1992) (upholding one market comprising

all parts of Kodak photocopiers and micrographic equipment and one market for servicing of all

those machines). As the U.S. Supreme Court has noted, “[C]ourts should ‘combin[e]’ different

products or services into ‘a single market’ when ‘that combination reflects commercial realities.’”
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Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018) (quoting Grinnell Corp., 348 U.S. at 572).

In Grinnell Corp., Justice Douglas suggested that distinct, non-interchangeable services could be

grouped together into one market if “companies recognize that to compete effectively, they must

offer all or nearly all types of service.” 348 U.S. at 572; see also Weiss v. York Hosp., 745 F.2d

786, 826 (3d Cir. 1984) (“Where, however, several goods or services are generally offered by the

same providers, it is not unreasonable for a jury to conclude that the market for antitrust purposes

includes all of those goods or services.” (citations omitted)).       Furthermore, “[a] cluster of

products,” such as Harley-compatible parts, “can comprise a relevant product market if the cluster

is itself an object of consumer demand.” Sharif Pharmacy, Inc., 950 F.3d at 918 (rejecting

defendant’s contention that market comprising all prescription drugs, which were obviously not

interchangeable with one another, was impermissibly broad) (cleaned up)). For example, in United

States v. Phillipsburg National Bank and Trust Company, the Supreme Court grouped multiple

financial services together into a relevant market of “commercial banking” because customers

generally obtain all banking services from one place. 399 U.S. 350, 360-61 & n.4 (1970). See

Deere (tied market for “repair services” for various John Deere tractors and combines).

       Here, Plaintiffs’ allegation that Harley-compatible parts are distinct from non-compatible

parts is self-evident: a Harley owner logically would not repair their bike with parts that would not

be functional when used on a Harley bike, and so prices of non-compatible parts cannot discipline

prices of Compatible Parts. See CAC ¶¶ 39, 54. Compatible Parts are also distinct in that they use

imperial or SAE units rather than metric units used by parts compatible with Japanese bikes. Id.

Sellers of Harley-compatible parts generally manufacture or sell a broad array of such parts, and

group and display them together as Harley-compatible (or similar categorization) for consumer

ease. Id. ¶¶ 39, 58-60, 62, 68-72. Additionally, consumers consider and advise one another about



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where to buy compatible parts, generally, rather than distinguishing among sellers of compatible

armrests, windshields, or headlights, see, e.g., id. ¶ 61 n.15.; ¶ 66 n.25, ¶ 67 n.27. One obvious

reason for this is that Harleys are long-lived and can last for generations, id. ¶ 3, from which it can

be reasonably inferred that loyal Harley owners will be making multiple different repairs and

customizations over the life of the bike, id. ¶ 3 - first a windshield, later an armrest, and so on -

and to source them, owners will turn each time to the unified Compatible Parts Market, not to a

discrete market focused solely on that single compatible part. Thus, it is the marketplace for these

multiple parts that is the object of consumer demand. Sharif, 950 F.3d at 918. The Compatible

Parts Market properly combines different parts into a single market because that combination

“reflects commercial realities.” Am. Express Co., 138 S. Ct. at 2285 (quoting Grinnell Corp., 348

U.S. at 572).

       C.       Plaintiffs Have Alleged Restraint of Trade

       To allege a restraint of trade in a rule of reason case, a plaintiff must “plead

‘anticompetitive effects,’ and ‘that the injury complained of be of a type that the antitrust laws

were designed to guard against, and further that the antitrust violation be the direct cause of

plaintiff's injury.’” In re Dealer Mgmt. Sys. Antitrust Litig., 313 F. Supp. 3d 931, 950 (N.D. Ill.

2018) (quoting Havoco of Am., Ltd. v. Shell Oil Co., 626 F.2d 549, 556 (7th Cir. 1980)); see also

Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 885 (2007) (rule of reason

ultimately requires “the factfinder [to] weigh[ ] all of the circumstances of a case in deciding

whether a restrictive practice should be prohibited as imposing an unreasonable restraint on

competition”). “[T]he plaintiff has the initial burden to prove that the challenged restraint has a

substantial anticompetitive effect that harms consumers in the relevant market.” Am. Express Co.,

138 S. Ct. at 2284 (2018).



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               1.      Market Power

       “Market power is the ‘power to raise prices significantly above the competitive level

without losing all of one’s business’ and is ‘normally inferred from the possession of a substantial

percentage of the sales in a market carefully defined in terms of both product and geography.’”

Vital Pharms., Inc. v. Berlin Packaging LLC, 632 F. Supp. 3d 780, 787 (N.D. Ill. 2022) (quoting

Valley Liquors, Inc. v. Renfield Importers, Ltd., 822 F.2d 656, 666-67 (7th Cir. 1987)). The CAC

alleges a monopoly in the bike market, which is a higher standard. CAC ¶ 94. But Harley

essentially makes the argument that a specific market share needs to be pleaded - and that if a

plaintiff does not have that information at the pleading stage, a case should be dismissed. Br. at 6.

This is not true. “[E]conomic power over the tying product can be sufficient even though the power

falls far short of dominance and even though the power exists only with respect to some of the

buyers in the market.” Deere, slip op. at 80, citing cases. Alleging defendant’s dominant position

in the tying market (as the CAC does, see, e.g., ¶50) is sufficient. Id.

       When the seller’s share of the market is high, or when the seller offers a unique product

that competitors are not able to offer, the likelihood is that market power exists. Parts & Elec.

Motors, Inc. v. Sterling Elec., Inc., 826 F.2d 712, 720 (7th Cir. 1987). Harley’s market power in

the tying market is undeniable: not only is it is the number one seller of new motorcycles in the

U.S., but as one of only two heritage American motorcycle brands to have survived past the Great

Depression it dwarfs its only significant competitor in the market, Indian, by nearly 6 to 1, as

Plaintiffs plead. CAC ¶ 50. Plaintiffs do not yet have the exact percentage of Harley’s market

share in the tying market, but based on the above-pleaded ratio it is a reasonable inference that it

is at least around 80%.12 Harley offers no authority to show why this is not sufficient.


12
  To be exact, as pleaded in the CAC, Harley is larger than Indian by a ratio of 5.86 to 1. If Harley
and Indian are the only competitors in the market, as it generally appears, then Harley has an
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       Moreover, a defendant need only have market power in the tying market. Packaging

Supplies, Inc. v. Harley-Davidson, Inc., No. 08-CV-400, 2009 WL 855798, at *5 (N.D. Ill. Mar.

30, 2009) (a plaintiff making a tying claim “need only present allegations that the tying seller has

sufficient economic power in the tying market to appreciably restrain free competition in the

market for the tied product”) (citing Reifert, 450 F.3d at 316-17).

       Regardless, Plaintiffs have sufficiently shown that Harley dwarfs its competitors in both of

the relevant markets alleged (CAC ¶¶ 50, 95), even if they have not yet had access to discovery

materials which will provide the exact numbers Harley seems to think are required.

       What Harley appears to attack here is the definition of the bike market itself, which it

evidently believes should expand to include every single motorcycle made anywhere on the globe.

Br. at 29. By grouping in Harley’s large roadgoing bikes with motorcycles made for and marketed

to a completely different consumer base - i.e., those who prefer the sleeker, sportier UJM bikes -

Harley manufactures its own proposed market share of 21.1% (Br. at 28) in an attempt to argue

that it lacks market power. But for the reasons stated above, those arguments fail, certainly at the

pleading stage. [CITE]

               2.      Volume of Commerce

       In this Circuit, “‘[t]he requirement that a substantial volume of commerce in the tied

product market be affected by the tie does not look to the percentage or share of the tied market

affected. Rather, the controlling consideration is simply whether a total amount of business,

substantial enough in terms of dollar volume so as not to be merely de minimis, is foreclosed to

competitors by the tie.’” Gumwood HP ShBring Partners, L.P. v. Simon Prop. Grp., Inc., No.



85.42% market share. 5.86 / 6.86 = 0.85422741. If allowing for remaining smaller competitors,
generously estimated at half of Indian’s market share, then Harley still comes out with a 79.61%
market share, or 80% rounded up. 5.86 / (5.86 + 1 + 0.5) = 0.79619565.

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3:11-CV-268 JD, 2013 WL 3214983, at *12 (N.D. Ind. Mar. 13, 2013) (quoting State of Ill. ex rel.

Hartigan v. Panhandle E. Pipe Line Co., 730 F. Supp. 826, 931 (C.D. Ill. 1990)). The Supreme

Court has long held that even amounts as low as $60,800 can suffice as “substantial” in the context

of volume of commerce. United States v. Loew’s, Inc., 371 U.S. 49 (1962).

       It is undisputed that Harley is the top-selling motorcycle manufacturer in America, with an

annual revenue of $5 billion. CAC ¶ 37. And it is the top seller of Compatible Parts in the country

as well with annual revenue of approximately $482.2 million - 23 times the size of its next

competitor. CAC ¶ 95. Since the volume of commerce involved is clearly substantial, Harley

attempts to press the “volume of commerce” into service to again attack market definition. This

fails because the restraints at issue impact multi-billion dollar markets.

       Harley also tries to attack the market by speculating that there could conceivably be “a part,

for example, that only H-D offers” which it claims would mean that “there can be no

anticompetitive tie as to that part because the tie would not foreclose any competition for that part.”

Br. at 30. In addition to being a premature factual inquiry, this is an attempt to splinter the

Compatible Parts market into potentially hundreds or thousands of smaller individual markets for

each and every part that could be used on a Harley bike. That is facially absurd. In any case, that

Harley may be the only seller of a certain part is a question too premature to be posited, and it has

no relevance to this question as only the parts made by the competitors are at issue when

determining the volume of commerce. Harley’s warranty bars riders from any parts made by a

competitor, regardless of whether Harley does or does not offer that part.             Plaintiffs have

sufficiently pleaded a “multitude” of competitors in the parts market, as Harley itself concedes;

this alone shows a substantial amount of commerce sufficient to satisfy the requirement. If there




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is competition there is commerce, and with Plaintiffs’ market definitions intact, Harley’s argument

is obviously wrong.

               3.      Anticompetitive Effects

       The anticompetitive effects of the tie that have been pleaded include the artificially driven

up costs of the parts market as a whole, particularly Harley’s own parts. As stated in the CAC,

Plaintiffs have demonstrated that Harley’s revenue for parts is likely “almost 23 times the size of

its nearest competitor.” CAC ¶ 95. Through its illegal tie, Harley captured a large percentage of

the potential parts customer base and could set prices accordingly, thereby driving up prices in the

parts market as a whole. See e.g. CAC ¶ 100.

       D.      Plaintiffs Have Adequately Alleged Market Power in the Tying Product
               Market

       Harley attempts to create new law in which a tying claim requires monopoly power in both

the tying and tied markets, and their brief focuses on trying to rebut a claim Plaintiffs did not bring

- for monopolization of the tied product market. The Court should readily reject that straw-man

argument. Plaintiffs’ allegations readily satisfy the black-letter law, which holds that in a tying

arrangement, buyers are forced to buy the tied product, meaning that the seller is only required to

have market power in the tying product market - here, the bikes. Viamedia, Inc. v., 951 F.3d at 466

(the “essential characteristic of an invalid tying arrangement lies in the seller’s exploitation of its

control over the tying product to force the buyer into the purchase of a tied product that the buyer

either did not want at all, or might have preferred to purchase elsewhere on different terms”

(quoting Jefferson Parish Hospital Dist. No. 2 v. Hyde, 466 U.S. 2, 12 (1984))).

       Harley has already lost a motion to dismiss where it tried to argue that both the tied and

tying markets required market power. See Packaging Supplies, Inc., 2009 WL 855798, at *5

(plaintiff prevailed on the argument that it “need only present allegations that the tying seller has


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sufficient economic power in the tying market to appreciably restrain free competition in the

market for the tied product.”). Harley repeats that failed argument here. If the seller already had

monopoly power in the tied product market, then there would be no need to tie the products

together. Thus, it is absurd to suggest that in order to allege a viable tying claim one must also

allege market share or barriers to entry in the tied market - here, the parts market. Indeed, the tying

claim exists because of competition in the tied market. See, e.g., Reifert, 450 F.3d at 318 (7th Cir.

2006) (“[w]here there is no competition in the tied market, there can be no antitrust violation.”).

         Instead, Plaintiffs allege that Harley used its already substantial monopoly power in the

tying bike market to attempt to foreclose competition in the parts market by forcing its new

customers into purchasing only Harley-branded parts in the tied market. CAC ¶ 98. By gobbling

up this substantial corner of the tied parts market, Harley commands an improper premium on its

parts.

         Harley’s “own conduct” that is the subject of this litigation (and the FTC’s Consent Order)

helped to create a very real barrier in the parts market, since it limited the available market share

through its monopolization of the bike market and forcing of new bike buyers to effectively be

locked into using only Harley’s parts for the period of their warranties. As Plaintiffs explain,

                Harley-Davidson’s conditioning of its warranty on the use of
                Harley-Davidson parts provided a powerful disincentive to dealers
                stocking and riders choosing competing Compatible Parts. A new
                entrant would have to contend with an already robust market in
                Compatible Parts for those Harley owners who were not covered by
                manufacturer warranties or intended to void them; and the new
                entrant would have no more access to the Class Members, those
                owners still under warranty, then any of the existing competitors in
                the Compatible Parts market.

CAC ¶ 92. This satisfies Plaintiffs’ pleading burden. Harley instead is making speculative use-

case arguments that can only be assessed after discovery.



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       Plaintiffs have pleaded Harley’s attempt through tying to monopolize the parts market. It

is axiomatic that a plaintiff does not need to plead that a defendant has completed an attempt at

monopolization action in order to allege the attempt. Plaintiffs have adequately pleaded a

monopoly in the foremarket of the bikes, which Harley then used through its illegal warranty

practices in order to tie in the aftermarket of replacement parts.

       Harley argues that because certain symptoms of monopolization may not be present in that

aftermarket (a factual inquiry that is prematurely raised here in the motion to dismiss), and that the

entire claim therefore fails - notwithstanding the fact that Plaintiffs have not and need not allege

that the tied market is a monopoly, but rather that Harley is attempting through the tie to

monopolize, which is an acceptable claim of a tie constituting monopolization. Spectrum Sports,

Inc. v. McQuillan, 506 U.S. 447, 447-48 (1993) (courts “have generally required a plaintiff in an

attempted monopolization case to prove that (1) the defendant has engaged in predatory or

anticompetitive conduct with (2) a specific intent to monopolize and (3) a dangerous probability

of achieving monopoly power. Unfair or predatory conduct may be sufficient to prove the

necessary intent to monopolize.”). See also Deere, slip op. at 86-89, holding that the derivative

aftermarket tie alleged, based on Deere’s dominance in the tying equipment market and its actions

to tie the repair services market, also states a claim under Section 2 of the Sherman Act.

       Harley does have, by contrast, monopoly power in the tying market. Monopoly power is

defined as “a seller’s ability to charge a price above the competitive level (roughly speaking, above

cost, including the cost of capital) without losing so many sales to existing competitors or new

entrants as to make the price increase unprofitable.” Sheridan, 530 F.3d at 594. The lack of an

exact market share is also not fatal here; the Seventh Circuit has long recognized “market share is

not the exclusive approach to assessing the presence or absence of monopoly power. Inferential



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proof of market share may be a proxy for direct evidence that the defendant possessed monopoly

power in the sense of the power to ‘control prices or exclude competition.’” State of Ill. ex rel.

Hartigan v. Panhandle E. Pipe Line Co., 730 F. Supp. 826, 904 (C.D. Ill. 1990), quoting MCI

Commc’ns Corp. v. Am. Tel. & Tel. Co., 708 F.2d 1081, 1106 (7th Cir. 1983). See also Grinnell

Corp., 384 U.S. at 571 (“[t]he existence of [monopoly] power ordinarily may be inferred from the

predominant share of the market”); see also MCI Communications Corp. v. Amer. Tel. & Tel. Co.,

708 F.2d 1081, 1107 (7th Cir. 1983) (“Where that data reveals a market share of more than seventy

to eighty percent, the courts have inferred the existence of monopoly power”).

        To be sure, Plaintiffs have alleged sufficient barriers with regard to the motorcycle

foremarket, whose monopoly Harley used in order to unlawfully tie purchases of parts. CAC ¶¶

88-91. Ignoring the relevant market definition, and the requirement of a distinctively American

brand to enter into it, Harley proposes hypothetically that the Big 4 Japanese makers could simply

choose to increase their market shares in the United States, and that there are no alleged barriers

to entry that would preclude them from doing so. Br. at 6. But this ignores Plaintiffs’ particularized

allegations regarding the market. CAC ¶¶ 39-50. Harley has no fact-based argument here unless

it can succeed in dismantling the definition of the relevant markets, and it is unable to do so.

        Defendants have offered no cases to suggest that both the foremarket and the aftermarket

require monopolies, which is what they appear to really be saying here – given that their citations

in favor of their argument regarding barriers to entry is that barriers to entry are needed to establish

monopoly power. Br. at 34-35. But there is no basis in law for this standard. In any case, as

Plaintiffs plead, Harley’s forcing of its new bike customers to only use Harley parts means that the

already dominated smaller parts manufacturers have to compete even more for consumers when

they outgrow the warranty period and can finally escape Harley’s grasp. CAC ¶ 92.



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        E.      Plaintiffs Sufficiently Plead Antitrust Injury and Damages

        Relying almost entirely on cases from outside of this Circuit, Harley argues that Plaintiffs

must (and do not) allege that the illegal tie increased the combined price for the motorcycle and

parts, as is required to claim damages. See Br. at 41. This challenge is misplaced, both legally

and factually, and imposes a burden on Plaintiffs that has not been required by the Seventh Circuit.

In fact, the motorcycles – the motorcycle and warranty package - were overpriced because the

warranty offered less than the law required, CAC ¶¶ 117, 118, 121; and the parts were overpriced

because Harley used its illegal tie to diminish parts competition, CAC ¶¶ 98, 124, 134. So this

factual standard is satisfied, even though it is not a requirement of these claims.

        In a tying case, “the measure of damages . . . is the amount of the overcharge, or difference

between the price paid for the tied product and its fair market value.” Johnson v. Nationwide

Indus., Inc., No. 77 C 1162, 1985 WL 2003, at *1, *3 (N.D. Ill. July 1, 1985) (denying defendants’

motion for summary judgment and finding plaintiffs’ evidence “sufficient to create a triable issue

on damages, at least in the absence of more compelling evidence from defendants that their

management fees were fully consonant with what was charged elsewhere in the Chicago market”),

on reconsideration, No. 77 C 1162, 1986 WL 7072 (N.D. Ill. June 16, 1986) (“[T]he measure of

damages in a tying case is the difference between the price paid for the tied product and its fair

market value[.]”). See also Kaiser Aluminum & Chem. Sales v. Avondale Shipyards, 677 F.2d

1045, 1054 (5th Cir. 1982), cert. denied, 459 U.S. 1105 (1983) (“In a tying arrangement, ‘the

ordinary measure of damages would be the difference between the price actually paid for the tied

product and the price at which the product could have been obtained on the open market[.]’”

(internal citation omitted)).

        It is not surprising that Harley resorts to out of Circuit case law to support its position here

and ignores a relevant case from this Circuit in which the court found similar allegations of tying
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sufficient to deny Harley’s motion to dismiss. See Packaging Supplies, Inc., 2009 WL 855798, at

*6 (“[T]he restraint on free competition in the market for the tied product that PSI alleges (the

Reifert formulation of the required tied-market effect) is that buyers of plastic merchandise bags

are forced to pay above-market prices (the Carl Sandburg formulation of the required tied-market

effect).”). In Packaging Supplies, Inc., the plaintiff alleged that Harley instructed dealers to

purchase merchandise bags only from Harley itself when many Harley dealers would have

preferred to purchase bags from the plaintiff, feared repercussions if they did, and were therefore

forced to pay above-market prices for the bags. Id. at *4-5. The court found such allegations

sufficient at the pleading stage. Id. at *6.

        Accordingly, Plaintiffs’ allegations here - that Harley’s illegal tying arrangement caused

them to pay above-market prices for parts (the tied product) - are sufficient at the motion to dismiss

stage. The only Seventh Circuit case cited by Harley is inapposite. See Will v. Comprehensive

Acct. Corp., 776 F.2d 665, 673 (7th Cir. 1985). In Will, a post-trial case, several franchisees sued

their franchisor, claiming that the franchisor broke its contract and violated Section 1 of the

Sherman Act by “tying” data processing to the franchise. Id., 776 F.2d at 669. Following a jury

trial, the district court entered judgement for the defendants on the antitrust theory. Id. at 671. The

franchisees challenged the verdicts, inter alia. Id. Ultimately, the Seventh Circuit found that

plaintiffs failed to establish that the franchisor had market power as a matter of law, which made

“every other element of the anti-trust case irrelevant.” Id. The present case does not involve

allegations of a franchisor-franchisee situation, and Plaintiffs have alleged that Harley maintained

market power in both relevant markets. See Br. at 21, supra; CAC ¶¶ 88-96. Moreover, Plaintiffs

have also alleged that consumers prefer to avoid Harley’s own service and retail channels, when

they are not restricted from doing so by Harley’s illegal warranty tie. See e.g., CAC ¶¶ 58-63, 71.



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See Will, 776 F.2d at 669 (“A tie within the meaning of antitrust depends on showing that the buyer

did not want to take both products from the same vendor.” (emphasis in original)).

        The other cases cited by Harley are equally unavailing. Lakeland Reg’l Med. Ctr., Inc. v.

Astellus US, LLC, 763 F.3d 1280 (11th Cir. 2014) was a class certification decision, largely decided

on standing, where the court did not “express any opinion regarding the claim’s merits.” Id. at

1285 n.4. Kypta v. McDonald’s Corp., 671 F.2d 1282 (11th Cir. 1982), was an appeal of the trial

court’s decision dismissing and refusing to certify the plaintiff’s real estate tie-in claim as a class

action. Sheet Metal Workers Nat’l Health Fund v. Amgen, Inc., Civil Action No. 07-5295, 2008

WL 3833577, *2 (D.N.J. Aug. 13, 2008), held merely that volume discount arrangements do not

constitute tying.

        Here, Plaintiffs allege that Harley maintains market power in both the tied and tying

markets and used its market power in the market for motorcycles to coerce customers not to

purchase Compatible Parts from its competitors. S ee, e.g., CAC ¶¶ 88-97. Plaintiffs also allege

that they paid above-market prices for parts and servicing due to the illegal tying arrangement.

See, e.g., CAC ¶¶ 98, 124, 134. This is all that is required at the pleading stage.13 See, e.g.,

Maryland Staffing Services, Inc. v. Manpower, Inc., 936 F. Supp. 1494, 1503 (E.D. Wi. 1996)

(complaint adequately alleged illegal tying arrangement at the motion to dismiss stage until the

evidentiary record was more fully developed); Packaging Supplies, Inc.             , at *5 (“[W]hile a

plaintiff at the pleading stage must allege plausible facts, it need not marshal all of its evidence.”).




13
  Plaintiffs have also alleged that because of Harley’s anticompetitive conduct, it is difficult - if
not, impossible - to obtain the total package cost at the time of purchase. S ee, e.g., CAC ¶¶ 75, 84.
At the pleading stage, before fact and expert discovery have been conducted, these allegations are
sufficient.


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        F.      Plaintiffs Appropriately Bring Claims under the Wisconsin Antitrust Act

        The Seventh Circuit has rejected the use of premature choice-of-law challenges like the

one advanced by Defendants at the pleading stage. See Morrison v. YTB Int’l, Inc., 649 F.3d 533,

538 (7th Cir. 2011) (denying Defendants’ choice-of-law based motion to dismiss); Williams v.

State Farm Mut. Auto. Ins. Co., No. 22 C 1422, 2023 WL 4106067, at *22 (N.D. Ill. June 21, 2023)

(“The Morrison Court went on to reason that the choice-of-law question—whether Illinois law

applied to out-of-state plaintiffs - did not lend itself to resolution under Rule 12(b)(6).”). Instead,

courts in this Circuit recognize that choice-of-law issues “are best resolved at the class-certification

stage.”14 Id. at *22; Texas Hill Country Landscaping, Inc. v. Caterpillar, Inc., 522 F. Supp. 3d

402, 412–13 (N.D. Ill. 2021) (Rule 12 motion denied because “the parties have not had an

opportunity to develop the legal and factual record needed to resolve the important choice-of-law

questions”). The present motion does not address class certification and discovery has not

started.15 Therefore, Defendants’ choice-of-law challenge is premature and should be rejected.


14
  Courts have certified multi-state classes under the forum state’s law where most of the relevant
conduct occurred in that state, as Plaintiffs allege occurred here. See, e.g., In re Packaged Seafood
Antitrust Litig., 332 F.R.D. 308, 346 (S.D. Cal. 2019).
15
   Contrary to Defendant’s argument, choice-of-law is not determined solely by the state of
purchase. Instead, states have varying choice-of-law rules that consider a multitude of factors.
See Texas Hill Country Landscaping, 522 F. Supp. 3d at 411 (the most significant relationship
looks to factors such as: “(1) where the injury occurred; (2) where the injury-causing conduct
occurred; (3) the domicile of the parties; and (4) where the relationship of the parties is centered.”);
Tingley Sys., Inc. v. CSC Consulting, Inc., 152 F. Supp. 2d 95, 114–15 (D. Mass. 2001) (The
Massachusetts Supreme Judicial Court “has refused to bind itself to a single choice of law
doctrine” and courts may consider: (a) the place where the injury occurred, (b) the place where the
conduct causing the injury occurred, (c) the domicil, residence, nationality, place of incorporation
and place of business of the parties, and (d) the place where the relationship, if any, between the
parties is centered.”); Mooney v. Allianz Life Ins. Co. of N. Am., 244 F.R.D. 531, 534–36 (D. Minn.
2007) (Minnesota courts determine if there is “significant contact or aggregation of contacts” and
then “consider five choice-influencing factors: (1) predictability of results; (2) maintenance of
interstate and international order; (3) simplification of the judicial task; (4) advancement of the
forum's governmental interests; and (5) application of the better rule of law.”); Simon v. Philip
Morris Inc., 124 F. Supp. 2d 46, 54-78 (E.D.N.Y. 2000) (Declining to apply the “last event
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        Defendants, nonetheless, claim that Count 1 should be dismissed because no named

plaintiff alleged they live in Wisconsin or made a purchase in Wisconsin. (Br. at 42-44). When

dealing with challenges to claims brought under the laws of states in which no named plaintiff has

purchased goods, “the trend has been to treat the issue as one of statutory standing that can be

deferred until class certification.” In re Dealer Mgmt. Sys. Antitrust Litig., 362 F. Supp. 3d 510,

548 (N.D. Ill. 2019); see also, Morrison, 649 F.3d at 536 (“There’s no problem with standing.

Plaintiffs have standing if they have been injured, the defendants caused that injury, and the injury

can be redressed by a judicial decision.”); Arreola v. Godinez, 546 F.3d 788, 795 (7th Cir.

2008)(“the inherent problem with the idea of ‘standing to bring a class action’ is that it ‘conflat[es]

the standing inquiry with the inquiry under Rule 23 about the suitability of a plaintiff to serve as a

class representative[.]’”); Freeman v. MAM US Corp., 528 F. Supp. 3d 849,          859 (N.D. Ill. 2021)

(denying Defendant’s standing challenge noting that, standing “is a question to be answered after

discovery on the propriety of class certification - not right out of the box.”); In re Broiler Chicken

Antitrust Litig., 290 F. Supp. 3d 772, 809-10 (N.D. Ill. 2017) (“Plaintiffs plausibly allege an injury

in fact by alleging that they paid inflated prices. . . For the time being—meaning at the pleading

stage and prior to analysis of the class allegations under Rule 23 - this analysis suffices to establish

the named plaintiffs' standing to assert the claims of class members in other states.”); Texas Hill

Country Landscaping, 522 F. Supp. 3d at 408 (“[T]his court agrees with district courts in the



necessary test” and applying New York law after conducting an “interest analysis” when the place
of illegal conduct (N.Y.) differed from the place of resulting injury (plaintiffs domiciled
throughout the nation)); Oregon Potato Co. v. Kerry Inc., 575 F. Supp. 3d 1064, 1083–84 (W.D.
Wis. 2021) (Noting that while the location of the injury was Washington, the location of the
wrongful conduct (misrepresentations and omissions) was Wisconsin, “so that factor points to
applying Wisconsin law.”) Here, discovery is necessary before a proper choice-of-law analysis
can be conducted as the full scope and location of Defendants’ conduct is not known at this time.


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Seventh Circuit that have concluded that ‘[w]hether the named plaintiffs ‘may assert the rights of

absent class members is neither a standing issue nor an Article III case or controversy issue but

depends rather on meeting the prerequisites of Rule 23 governing class actions.’”). A decision on

Plaintiffs’ ability to bring representative claims under Wisconsin law16, like choice-of-law, is

premature. Defendants’ motion should be denied.

III.   PLAINTIFFS’ CLAIMS THAT “SOUND IN FRAUD”

       Fed. R. Civ. P. 9(b) requires a party pleading fraud to “state with particularity the

circumstances constituting fraud.” While the “level of particularity required under Rule 9(b)

depends upon the facts of the case, the pleading ‘ordinarily requires describing the who, what,

when, where, and how of the fraud.’” Camasta v. Jos. A. Bank Clothiers, Inc., 761 F. 3d 732, 737

(7th Cir. 2014) (quoting AnchorBank, FSB v. Hofer, 649 F.3d 610, 615 (7th Cir. 2011)). Certain

components, such as “malice, intent, knowledge, and other conditions of a person's mind may be

alleged generally.” Fed. R. Civ. P. 9(b). As detailed below, as to the statutory claims that “sound

in fraud,” Plaintiffs have satisfied the elements of who, what, where, when, and how.

       “Who” is Harley itself, which made the misrepresentations and omissions at issue when

the Limited Warranty was sold as a bundle with its motorcycles. See CAC ¶¶ 30-31, 178-81. This

is enough. See Fon Du Lac Bumper Exchange, Inc. V. Jui Li Enterprise Co. Ltd., 85 F. Supp. 2d




16
   Even if this Court were to consider the merits of this premature argument, the Wisconsin
Supreme Court has concluded that the Wisconsin Antitrust Act is not restricted to Wisconsin
residents. Olstad v. Microsoft Corp., 284 Wis. 2d 224, 235, 700 N.W.2d 139, 144 (2005) (“On its
face, the statute refers to ‘every contract,’ ‘any contract,’ and ‘every person’ without restricting its
purview to Wisconsin contracts or persons in Wisconsin.”) (emphasis added); Wis. Stat. § 133.18
(allows “any person” injured to bring suit); Meyers v. Bayer AG, Bayer Corp., 2007 WI 99, ¶ 3,
303 Wis. 2d 295, 300, 735 N.W.2d 448, 451 (2007) (affirming that Wisconsin’s Antitrust Act
reaches interstate activities and is not limited to intrastate activity).

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1007, 1012 (E.D. Wis. 2015) (“who” prong adequately alleged by naming defendants).17 The

Court should reject Harley’s attempt to litigate speculative facts outside the CAC, such as its

hypothetical that the misrepresentations could have been made by “personnel affiliated with the

sellers of parts” or “a “dealer.” Br. at 47. Even if those factual contentions were appropriately

considered at this stage, they are nothing more than Harley grasping at straws.

        “What” are the misrepresentations and omissions concerning the terms of the Limited

Warranty, and Harley’s statements that using non-Harley parts can void the warranty. “Where” is

the Limited Warranty, as well as Harley’s omissions. See CAC ¶ 31, ¶ 114, ¶ 115, ¶¶ 178-81.

Such statements satisfy Rule 9(b). Compare Palmer v. Procter & Gamble Co., 2023 WL 5852252,

at *4 (N.D. Ill. Sept. 11, 2023) (alleged misstatements on box of tampons asserting they “are made

entirely of cotton; are pure; lack added coloring; and are environmentally friendly” describe the

“who”, “what”, and “how” with particularity); Womick v. Kroger Co., 2022 WL 673095, at *4

(S.D. Ill. Mar. 7, 2022) (case about quantity of coffee pled “the ‘what’: the number of cups the

canisters represent they can make . . . the ‘where’: on the label of the canisters”); Fon Du Lac

Bumper Exchange, 85 F. Supp. 2d at 1012 (“what” element adequately alleged through allegations

“falsely attributing the cause of price increases to other causes and agreeing among themselves to

keep their price-fixing secret”).

        Harley’s argument that Plaintiffs alleged that Harley “both disclosed and failed to disclose

the alleged restrictions” (see Br. at 47), misinterprets Plaintiffs’ claims. Plaintiffs’ claims of fraud


17
   Van Den Heuvel v. AI Credit Corp., 951 F. Supp. 2d 1064, 1079 (E.D. Wis. 2013) is
distinguishable. In that case, concerning a non-class fraud action against life insurance premium
financing firms and insurers for alleged misrepresentations regarding a life insurance policy, the
court dismissed the claims because it was unclear which entities were involved in the making the
alleged misrepresentations. Here, by contrast, it is undisputed that Harley-Davidson made the
misrepresentations and omissions in the Limited Warranty.


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include both affirmative representations and omissions/fraudulent concealment. For example,

Count 4 covers affirmative misrepresentations in the Limited Warranty itself, see CAC ¶¶ 166-76,

and Count 5 covers fraudulent concealment and omissions of these restrictive warranty terms until

after the point of sale. See id. at ¶¶ 178-88.

       Moreover, Defendants’ cases are inapposite. In Cota v. Ralph Lauren Corp., 603 F. Supp.

3d 666, 675 (E.D. Wis. 2022), the court dismissed a class action against a clothing manufacturer

for misrepresenting the type of cotton it used, holding that that the plaintiff “does not identify the

product she purchased or the products that were supposedly tested, does not describe what

representation RLC made with respect to the products, i.e., what percentage of pima cotton was

incorporated into the product, and does not describe to what extent the actual pima cotton content

in the product conflicted with the amount represented.” In Marolda v. Symantec Corp., 672 F.

Supp. 2d 992, 1001-02 (N.D. Cal. Jul. 28, 2009), a case involving alleged misstatements regarding

subscriptions to antivirus software, plaintiff failed to “describe the content of the omission and

where the omitted information should or could have been revealed, as well as provide

representative samples of advertisements, offers, or other representations that plaintiff relied on to

make her purchase and that failed to include the allegedly omitted information.” In Brumfield v.

Merck & Co., Inc., 2018 WL 2277835, at *8 (E.D.N.Y. May 18, 2018), a mass action involving

alleged misrepresentations in advertisement concerning a vaccine, the court held that plaintiffs did

“not identify any specific advertisements; the precise information misrepresented in or omitted

from the advertisements; or when and where the advertisements were printed or aired.” Here, by

contrast, each plaintiff purchased a Harley-Davidson motorcycle, and was thus provided with, and

ostensibly subject to, the Limited Warranty containing the misleading terms.




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       Plaintiffs have sufficiently alleged with particularity “when” the fraudulent statements

were made. The Limited Warranty is provided to Plaintiffs when the vehicle is sold, but the terms

are “see the dealer,” with no clarity until some unspecified time. Defendants’ rhetorical questions

about where Plaintiffs received these misrepresentations, Br. at 46-47, are unavailing. Again, as

described above, this conflates the affirmative representations and omissions. Plaintiffs have

specifically pled that, while Defendants “fail to require their dealers to disclose the written

warranty terms to Plaintiff and Class Members prior to the point of sale” CAC ¶ 104, Plaintiffs

are provided with the Limited Warranty at the point of sale.18 Id. at ¶¶ 180-81. Thus, for purposes

of pleading, Plaintiffs’ allegations satisfy the “when” element.

       Plaintiffs have alleged with particularity “how” the statements at issue were fraudulent. As

set forth in the CAC, “Harley-Davidson knowingly and intentionally indicated to Plaintiffs that

they would be unable to use parts not authorized by Defendants on the products that they had just

purchased, and thus were barred from repairing their motorcycles using non-Harley-Davidson

brand parts that may be cheaper or more effective than authorized Harley-Davidson brand parts.”

Id. at ¶ 166 (emphasis added). Similarly, “Defendants indicated to Plaintiffs and members of the

Class that they would be unable repair the motorcycles that they purchased unless they used

authorized service providers.” Id. at ¶ 167. (emphasis added). The CAC states that such

statements constituted misrepresentations because “Defendants misrepresented that these unlawful



18
   PB Property Mgmt. Inc. v. Goodman Manufacturing Co. L.P., 2013 WL 12172912, at *7 (M.D.
Fla. Aug. 28, 2013), cited by Defendants, is distinguishable. In that case, the court dismissed
fraud-related claims concerning defective air conditioning units and statements made about their
quality, finding “[t]he Complaint does not, for example, state when Plaintiff viewed the alleged
misrepresentations on Defendants' website, or even whether it - or any other consumer - viewed
them at all before purchasing the allegedly defective products.” Here, by contrast, the statements
at issue were provided to every purchaser at the point of sale.


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repair restrictions were binding and enforceable even though such restrictions were explicitly

unlawful according to FTC regulations and thus unenforceable.” Id. at ¶ 168 (emphasis added).

While Rule 9(b) provides that intent and knowledge may be pled generally, Plaintiffs have

nonetheless alleged that “Defendants were on actual and constructive notice that their warranties

were unlawful because federal and state law explicitly forbade these actions.” Id. at ¶ 169

(emphasis added). Such allegations plead with particularity “how” the Limited Warranty was

fraudulent, and how Harley knew or should have known that the terms therein were unlawful and

unenforceable.

       Plaintiffs’ allegations satisfy Rule 9(b). Compare Palmer, 2023 WL 5852252, at *4

(alleged misstatements on box of tampons asserting they “are made entirely of cotton; are pure;

lack added coloring; and are environmentally friendly” describe the “who”, “what”, and “how”

with particularity); Womick, 2022 WL 673095, at *4 (case about quantity of coffee pled “the

‘what’: the number of cups the canisters represent they can make . . . the ‘where’: on the label of

the canisters”); Fon Du Lac Bumper Exchange, 85 F. Supp. 2d at 1012 (“what” element adequately

alleged through allegations “falsely attributing the cause of price increases to other causes and

agreeing among themselves to keep their price-fixing secret”).

IV.    PLAINTIFFS’ OTHER STATUTORY CLAIMS

       A.        Michigan and Oklahoma Consumer Protection Statutes Do Not Exempt
                 Harley’s Conduct

       Defendants erroneously contend that claims arising from motorcycle warranties or

“automobile purchases” are exempt from the scope of the Michigan Consumer Protection Act

(“MCPA”) and Oklahoma Consumer Protection Act (“OCPA”) (CAC Counts 42 and 67), merely

due to the availability of Magnuson-Moss Warranty Act (“MMWA”) claims. BR. at 49-51.

Defendants’ argument is premature as to the MCPA. Michigan courts recognize that an exemption


                                                47

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to the MCPA is properly raised as “an affirmative defense” and is therefore inappropriate to

address at this stage of the litigation. See Golden Star Wholesale, Inc. v. ZB Importing, Inc., 531

F. Supp. 3d 1231, 1253–54 (E.D. Mich. 2021) (declining to dismiss MCPA claims).

       Additionally, the MMWA and the MCPA may be applied simultaneously – even in the

automotive context - without triggering the exemption. See Chiulli v. Am. Honda Motor Co., 2023

WL 5763053, at *6 (N.D. Cal. Sept. 6, 2023) (denying motion to dismiss both MMWA and MCPA

claims); see also In Re Porsche Cars North America, Inc., 880 F. Supp. 2d 801, 856 (S.D. Ohio

July 19, 2012) (sustaining both MCPA and MMWA claims).

       Likewise, the Oklahoma statute does not automatically exempt commerce involving motor

vehicles merely because some agency regulates aspects of those businesses. In re Gen. Motors

Corp., 2005 WL 1924335, at *3 (W.D. Okla. Aug. 8, 2005) (allowing defect and breach of

warranty claims). The OCPA exemption “does not apply when a defendant’s conduct is governed

in some respects by a state or federal agency, but the specific conduct at issue is not within the

scope of the agency’s authority.” Sisemore v. Dolgencorp, LLC, 212 F. Supp. 3d 1106, 1109 (N.D.

Okla. 2016). Here, Harley fails to identify the specific conduct that falls within the exemptions in

either the MCPA or the OCPA and thus have not met their burden.

       B.      The Illinois Plaintiffs Received Fraudulent Communications from Harley
               Davidson

       Harley incorrectly asserts (Br. at 52) that Illinois Plaintiffs received no specific deceptive

communication or advertisement. Each Plaintiff, including Assise, Lipkin, and Demkiv, received

a motorcycle owner’s manual, a communication from Harley Davidson. CAC ¶¶ 113, 124. This

communication omitted material facts and Illinois law clearly recognizes that “an omission or

concealment of a material fact in the conduct of trade or commerce constitutes consumer fraud.”

Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 504 (1996). Harley’s Limited Warranty contained


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within the owners’ manual omits a material term - “the requirement to use Harley Davidson

specified dealers, parts, and accessories.”        CAC ¶ 104.        Allegations that point-of-sale

communications omit material terms satisfy the pleading requirements under Illinois state law.

Baranco v. Ford Motor Co., 294 F. Supp. 3d 950, 969 (N.D. Cal. 2018) (inferring an omission

under Illinois law where dealerships failed to disclose a defect at the point of sale).

       C.      Plaintiffs’ Alleged Failure to Provided CLRA Notice Is Not a Basis for
               Dismissal

       The Court should reject Harley’s argument that Plaintiffs’ damages claim under the CLRA

should be dismissed based on Plaintiffs’ supposed failure to comply with the CLRA’s procedural

requirement to give a defendant notice and an opportunity to cure before seeking damages in court.

       First, the CLRA’s notice requirement is a state law procedural requirement that does not

apply in federal court, and the Court’s inquiry need go no further. See Erie R. Co. v. Tompkins,

304 U.S. 64, 78 (1938) (federal courts sitting in diversity apply state substantive law but federal

procedural law). The Court’s inquiry need go no further.

       Second, even if this provision applied in federal court, the CLRA requires 30 days’ written

notice and an opportunity to cure before damages- not injunctive relief - may be sought in court.

See Cal. Civ. Code § 1782(a)(1), (b) (expressly applying only to an action “for damages”), (d)

(providing action for injunctive relief may be brought without giving notice, and after 30 days,

“the consumer may amend his or her complaint without leave of court to include a request for

damages”). Plaintiffs gave Harley notice and an opportunity to cure. See Compl. ¶¶ 108-09, ECF

No. 1, Koller v. Harley-Davidson Motor Co., No. 4:22-cv-04534 (N.D. Cal. Aug. 5, 2022)

(providing CLRA notice to Harley and advising Plaintiff would amend to seek damages if Harley

did not rectify its wrongful conduct).




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       Finally, Harley’s argument ignores California case law in an attempt to enforce a more

stringent standard that would serve no benefit other than to waste the Court’s and the parties’ time.

Although some federal courts agree that strict adherence to the CLRA 30-day notice provision is

required,19 the California Court of Appeals “has expressly disapproved of this approach” going as

far as “rebuking courts which have taken it for ‘fail[ing] to properly take into account the purpose

of the notice requirement’ - which is to allow a defendant to avoid liability for damages if it

expeditiously corrects the alleged wrongs[.]” Norman v. FCA US, LLC, 2023 WL 6388926, at *

18 (E.D. Mich. Sept. 30, 2023) (quoting Morgan v. AT&T Wireless Servs., Inc., 177 Cal. App. 4th

1235, 1261 (Cal. Ct. App. 2009) (emphasis added). Here, Harley was put on notice of the CLRA

claims in August 2022 with the filing of the Koller Complaint, and Koller sought only injunctive

relief in that initial complaint while providing Harley notice of his intention to amend to seek

damages. See CAC ¶ 282. More than a year later, Harley has still not taken any steps to rectify

the past harm of its practices. See Clark v. InComm Fin. Servs., Inc., 2023 WL 5167364, at* 5

(C.D. Cal. Jul. 17, 2023) (“Defendant cannot now contend that Plaintiffs failed to provide an

opportunity to cure the alleged defects when Defendant made no use of a potential opportunity to

do so.”). Even if the Court agreed with Harley, Plaintiffs would simply file an amended

complaint20 thirty days after issuing “formal” notice - an unnecessary waste of resources. See

Baird v. Samsung Electrs. Am., Inc., 2018 WL 4191542, at *9 (N.D. Cal. Jul. 20, 2018), rev'd and


19
  Harley cites In re Apple & AT&T iPad Unlimited Data Plan Litig., 802 F. Supp. 2d 1070, 1077
(N.D. Cal. 2011) (Br. at 52-53) for this proposition; however, the CLRA claims in that case were
dismissed for lack of standing before the Court even reached the issue of notice. Harley also cites
Shu v. Toyota Motor Sales USA, Inc., 2023 WL 3028071 (N.D. Cal. Apr. 19, 2023), but, in that
case, plaintiff attempted to use the operative complaint for injunctive relief - not a complaint filed
more than a year prior – as the basis for notice.
20
  See Benipayo v. Volkswagen Grp. of Am., Inc., 2020 WL 553884, at *7 (N.D. Cal. Feb. 4,
2020) (stating “the typical remedy for inadequate notice” is “dismissal with leave to amend after
proper notice is sent”).

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remanded on other grounds, 804 F. App’x 481 (9th Cir. 2020) (“there is nothing to gain by

dismissing … the claim should be allowed to proceed if otherwise proper.”).

       D.      Plaintiffs’ California UCL (and Other Equitable Relief Claims) Are
               Cognizable

       Harley argues that Plaintiffs’ UCL claim (CAC Count 11), “and other requests for equitable

relief”21 should be dismissed for failing to allege an inadequate remedy at law. See BR. at 53.

Plaintiffs may plead legal remedies in one section of their complaint without foreclosing the ability

to plead equitable remedies in another. See Feeco Intern., Inc., v. Oxane Materials, LLC, 2013

WL 5273930, at *1 (E.D. Wisc. Sept. 18, 2013) (“Plaintiff is correct that federal pleading standards

allow for pleading in the alternative, which permits a party to make claims that may not be facially

consistent.”).22 In addition, Harley’s arguments presume that Plaintiffs are entitled to a legal

remedy for their other claims, which is a determination not made at this stage. See Gibson v. City

of Chicago, 910 F.2d 1510, 1520 (7th Cir. 1990).

       E.      Defendant’s Meritless Undeveloped Argument on Plaintiffs’ Claims

       Harley makes an undeveloped23 three-sentence catchall argument in stating that “[s]everal”

of Plaintiffs state law claims fail because they are predicated on other “doom[e]d” claims. See Br.




21
   Harley fails to fully explain its arguments forcing Plaintiffs (and the Court) to speculate as to
which “equitable” claims it wants dismissed. Making a fledgling argument such as this is a basis
to deny Harley’s motion, certainly as to any claims it has not specified in its request for dismissal.
See infra. n.8.
22
  Harley cites Williams v. Apple, Inc., which dealt with injunctive claims under the FAL and UCL
that were deemed duplicative of an existing claim for breach of contract which sought monetary
damages. 2020 WL 6743911, at *9-10 (N.D. Cal. Nov. 17, 2020). Importantly, in contrast to this
case, plaintiffs in that case did not argue that the conduct was ongoing, or that injunctive relief was
required to forestall future harm.
23
  Harley’s summary treatment of this argument is an independent basis to deny its motion. See
Reiff v. Bd. of Regents of the Univ. of Wisc. Sys., 2014 WL 4546041, at *4 (W.D. Wisc. Sept. 12,
2014) (inadequately developed arguments in an opening brief may be forfeited) (citing Hernandez
                                                  51

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at 53-54. But Harley cherry picks single paragraphs from certain counts which reference violations

of other statutes without acknowledging that each of these state law claims contains sufficient

factual allegations of wrongdoing which are independent of their reliance on other statutes.24

Accordingly, such argument should be summarily disposed.

V.     PLAINTIFFS’ UNJUST ENRICHMENT CLAIMS

       Harley raises four, one-sentence arguments as to why it believes the Court should dismiss

the plaintiffs’ unjust enrichment claims. Each one fails.

       A.      Harley’s Bare Assertion that Unjust Enrichment Falls with Other Claims Is
               Incorrect

       Unsupported by any authority, Harley argues that Plaintiffs’ unjust enrichment claims fail

“for the same reasons as the other claims.” An unjust enrichment claim has distinct elements: “(1)

a benefit conferred on the defendant by the plaintiff, (2) appreciation or knowledge by the

defendant of the benefit, and (3) acceptance or retention of the benefit by the defendant under

circumstances making it inequitable for the defendant to retain the benefit.” Sands v. Menard, 2017

WI 110 at ¶ 30, 379 Wis. 2d 1, 18-19, 904 N.W.2d 789, 798.25


v. Cook Cnty. Sheriff’s Office, 634 F.3d 906, 913 (7th Cir. 2011)); see also U.S. v. South, 28 F.3d
619, 629 (7th Cir. 1994) (citing cases).
24
   For example, Harley claims Plaintiffs’ UCL claims should be dismissed because of purported
reliance on the Magnuson-Moss Warranty Act, The Song-Beverly Warranty Act, and the CLRA,
but Harley fails to point out that Plaintiffs’ claims under these statutes contain freestanding
allegations of illegal conduct which withstand the motion to dismiss. See e.g., CAC ¶¶117-24,
147-56 (MMWA claim).
25
   While there is some variation between the states’ respective elements, there is little variation
from the framework described in Sands. See, e.g. Duty Free World v. Mia. Perfume Junction, Inc.,
253 So. 3d 689, 693 (Fla. 3d DCA 2018) (“To make an unjust enrichment claim under Florida law,
Plaintiffs must allege that: (1) Plaintiffs conferred a benefit on Defendants; (2) Defendants
voluntarily accepted and retained the benefit; and (3) that it would be inequitable for Defendants
to retain the benefit.”); HPI Health Care Servs., Inc. v. Mt. Vernon Hosp., Inc., 131 Ill. 2d 145,
160, 545 N.E.2d 672, 137 Ill. Dec. 19 (Ill. 1989) (under Illinois law, “plaintiff must allege that the
defendant has unjustly retained a benefit to the plaintiff’s detriment, and that defendant’s retention
of the benefit violates the fundamental principles of justice, equity, and good conscience.”); Lass
                                                 52

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        B.      Adequate Remedies at Law

        Inexplicably, while simultaneously arguing Plaintiffs do not have any remedies, Harley

claims that Plaintiffs may not bring unjust enrichment claims because they have adequate remedies

at law. Under Federal Rule of Civil Procedure 8(d), “[a] party may set out 2 or more statements of

a claim . . . alternatively or hypothetically, either in a single count or . . . in separate ones” and

“may state as many separate claims . . . as it has, regardless of consistency.” Fed. R. Civ. P. 8(d)(2),

(3); Aurora Health Care Inc. v. Blue Cross Blue Shield, No. 22-cv-1159-bhl, 2023 U.S. Dist.

LEXIS 166122, *15 (E.D. Wis. Sep. 19, 2023) (quoting Fed. R. Civ. P. 8(a)(3)).

        Here, Plaintiffs bring their unjust enrichment in the alternative to the other claims alleged.

This is “entirely proper.” N. Grp., Inc. v. Tech 4 Kids Inc., 352 F. Supp. 3d 882, 888 (E.D. Wis.

2018); see also, e.g., Le v. Kohls Dep’t Stores, Inc., 160 F. Supp. 3d 1096, 1118 (E.D. Wis. 2016)

(applying Ninth Circuit law to allow even a “superfluous” unjust enrichment claim to proceed past

the motion to dismiss stage). The Seventh Circuit has specifically held that “while [c]laims for

breach of contract and unjust enrichment are mutually exclusive[,]… a complaint may plead these

two state-law theories in the alternative.” Blanchard & Assocs. v. Lupin Pharms., Inc., 900 F.3d

917, 921 (7th Cir. 2018).




v. Bank of Am., N.A., 695 F.3d 129, 140 (1st Cir. 2012) (Massachusetts); Bellevue Ventures, Inc.
v. Morang-Kelly Inv., 302 Mich. App. 59, 64, 836 N.W.2d 898, 901 (2013) (Michigan); Bank of
Montreal v. Avalon Capital Grp., Inc., 743 F. Supp. 2d 1021, 1032 (D. Minn. 2010) (Minnesota);
Kennedy v. Carriage Cemetery Servs., 727 F. Supp. 2d 925, 932 (D. Nev. 2010) (Nevada); Billsie
v. Brooksbank, 525 F. Supp. 2d 1290, 1298 (D.N.M. 2007) (New Mexico); Myun-Uk Choi v.
Tower Research Capital LLC, 165 F. Supp. 3d 42, 50 (S.D.N.Y. 2016) (New York); Intercollegiate
Women’s Lacrosse Coaches Ass’n v. Corrigan Sports Enters., 505 F. Supp. 3d 570, 586 (M.D.N.C.
2020) (North Carolina); Wells v. Johnson & Johnson, 554 F. Supp. 3d 1207, 1215 (W.D. Okla.
2021) (Oklahoma); Reichert v. Keefe Commissary Network, L.L.C., 331 F.R.D. 541, 555 (W.D.
Wash. 2019).

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       Federal courts in each of the states in which a named plaintiff resides interpret Rule 8 in a

similar fashion, permitting plaintiffs to plead legal and equitable theories in the alternative at the

pleading stage. See, e.g. : Cabrales v. Castle & Cooke Mortg., Ltd. Liab. Co., No. 1:14-cv-01138-

MCE-JLT, 2015 U.S. Dist. LEXIS 76636 (E.D. Cal. June 10, 2015) (California); Gibson v. Lynn

Univ., Inc., 504 F. Supp. 3d 1335, 1344 (S.D. Fla. 2020) (Florida); Mashallah, Inc. v. W. Bend

Mut. Ins. Co., 20 F.4th 311, 325 (7th Cir. 2021) (Illinois); Malaro v. Wilkie, Civil Action No. 22-

10548-NMG, 2023 U.S. Dist. LEXIS 87863 *5-6 (D. Mass. May 19, 2023) (Massachusetts);

Net2Globe Int’l, Inc., v. Time Warner Telecom of N.Y., 273 F. Supp. 2d 436, 466 (S.D.N.Y. 2003)

(New York).

       C.      California Construes Unjust Enrichment as a Request for Restitution

       Harley’s argument that California law does not recognize a standalone claim for unjust

enrichment also fails. The Ninth Circuit has specifically held that claims pled as unjust enrichment

state a claim under California law as a “quasi-contract claim seeking the remedy of restitution.”

Astiana v. Hain Celestial Grp., Inc., 783 F.3d 753, 762-63 (9th Cir. 2015) (holding complaint

alleging California unjust enrichment claim should be construed “as a quasi-contract claim seeking

restitution,” and upholding claim based on “straightforward statement” that defendant was unjustly

enriched via sale of deceptively labeled product).

       D.      Plaintiffs Satisfy the Direct Benefit Element

       Finally, Harley argues that various state laws require the Plaintiffs to plead that they

conferred a direct benefit to Harley in order to plead unjust enrichment, and that Plaintiffs pled

only that they conferred a direct benefit on Harley dealers. Harley’s argument fails because the

jurisdictions at issue specifically consider a direct benefit to be conferred on an automotive

manufacturer where a plaintiff purchases or leases his vehicle from a dealership affiliated with the

automotive manufacturer. See, e.g Nuwer v. FCA US Ltd. Liab. Co., 552 F. Supp. 3d 1344 (S.D.

                                                 54

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Fla. 2021) (“[u]nder the laws of Arizona, Florida, and New York, ‘a direct benefit is conferred on

an automotive manufacturer where a plaintiff purchases or leases his vehicle from a dealership

affiliated with the automotive manufacturer,” citing In re Takata Airbag Products Liab. Litig., 462

F. Supp. 3d 1304, 1326 (S.D. Fla. 2020)). Harley sells its new motorcycles only through

authorized dealers. This, too, is the law in most or all jurisdictions to have examined it. See

Kiriacopoulos v. GM LLC, No. 22-10785, 2023 U.S. Dist. LEXIS 60001 *40 (E.D. Mich. Apr. 5,

2023) (multiple states); In re Cardizem CD Antitrust Litig., 105 F. Supp. 2d 618, 671 (E.D. Mich.

2000) (finding direct benefit under Illinois, Minnesota, New York, and Wisconsin, and Michigan

law outside the auto dealer context).

       Accordingly, Harley’s sales though its dealers confer a sufficiently direct benefit to invoke

unjust enrichment, and Harley has offered no contrary authority.

                                        CONCLUSION

       For the reasons stated above, Defendants’ motion to dismiss should be denied.

Respectfully submitted, December 14, 2023:

s/ Thomas H. Burt

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